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1A
 101-7-TDR
 /2009
 /2010
 ary
 2 Services
                                                 UNITED STATES BANKRUPTCY COURT
                                                    MIDDLE DISTRICT OF FLORIDA
                                                         ORLANDO DIVISION


               In Re:                                        §
                                                             §
               LLC. LR BUFFALO CREEK                         §       Case No. 6:08-10162-KSJ
                                                             §
                                   Debtor                    §

                               CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                               REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                               ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)

                       Leigh R. Meininger, chapter 7 trustee, submits this Final Account, Certification that the
               Estate has been Fully Administered and Application to be Discharged.

                       1) All funds on hand have been distributed in accordance with the Trustee’s Final Report
               and, if applicable, any order of the Court modifying the Final Report. The case is fully
               administered and all assets and funds which have come under the trustee’s control in this case
               have been properly accounted for as provided by law. The trustee hereby requests to be
               discharged from further duties as a trustee.

                      2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
               discharged without payment, and expenses of administration is provided below:


               Assets Abandoned: 524,979.00                          Assets Exempt: NA
               (Without deducting any secured claims)

               Total Distributions to Claimants: 4,680,413.11        Claims Discharged
                                                                     Without Payment: NA

               Total Expenses of Administration: 3,044,562.79


                       3) Total gross receipts of $7,749,975.90 (see Exhibit 1), minus funds paid to the debtor
               and third parties of $775,000.00 (see Exhibit 2), yielded net receipts of $6,974,975.90 from the
               liquidation of the property of the estate, which was distributed as follows:




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                                                  CLAIMS            CLAIMS                 CLAIMS                CLAIMS
                                                SCHEDULED          ASSERTED               ALLOWED                 PAID



SECURED CLAIMS
(from Exhibit 3)                                  $3,663,903.94      $7,533,553.21          $8,092,634.74         $4,319,945.03

PRIORITY CLAIMS:
  CHAPTER 7 ADMIN. FEES
  AND CHARGES
  (from Exhibit 4)                                          NA         2,224,562.79           2,751,333.54         3,044,562.79

PRIOR CHAPTER
  ADMIN. FEES AND
  CHARGES (from Exhibit 5)                                  NA                 NA                     NA                      NA

  PRIORITY UNSECURED
  CLAIMS (from Exhibit 6)                               588.41           20,337.64              20,337.64                19,687.64

GENERAL UNSECURED
CLAIMS (from Exhibit 7)                            1,515,211.77    1,438,496,454.38       1,437,746,454.38              340,780.44

TOTAL DISBURSEMENTS                               $5,179,704.12   $1,448,274,908.02     $1,448,610,760.30         $7,724,975.90


                 4) This case was originally filed under chapter on 10/30/2008, and it was converted to
          chapter 7 on 03/23/2009. The case was pending for 136 months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to
          the United States Trustee.

                  6) An individual estate property record and report showing the final accounting of the
          assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for each
          estate bank account, showing the final accounting of the receipts and disbursements of estate
          funds is attached as Exhibit 9.

                 Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
          foregoing report is true and correct.

          Dated: 05/12/2020                        By:/s/Leigh R. Meininger
                                                                                Trustee
          STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
          exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                       EXHIBITS TO
                                                     FINAL ACCOUNT


            EXHIBIT 1 – GROSS RECEIPTS

                           DESCRIPTION                            UNIFORM                         $ AMOUNT
                                                                 TRAN. CODE1                      RECEIVED

176 Boys Camp Road, Lake Lure, NC                                 1110-000                           167,500.00

252 Lots                                                          1110-000                           504,000.00

323 lots of real property, improvements, amenities                1110-000                          2,316,534.67

Real Property - HGTV &quot;Dream
Home&quot; and im                                                 1110-000                          1,200,000.00

Sale of Declarant Rights to Grey Rock
Community Association,                                            1110-000                            15,000.00

Deposits Held in Escrow                                           1129-000                            99,000.00

Deposit by Catalyst on sale of real property                      1229-000                            75,000.00

Litigation in Adversary Lawsuits                                  1241-000                          1,204,285.00

Litigation in Adversary Lawsuits                                  1249-000                          2,159,928.00

Post-Petition Interest Deposits                                   1270-000                              1,466.06

Non-Estate Receipts                                               1280-000                           150,000.01

Non-Estate Receipts                                               1280-002                                 -0.01

Other Receipts                                                    1290-000                          -150,000.00

Refund of Advertising Expenses                                    1290-000                              7,262.17




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                            DESCRIPTION                                    UNIFORM                                     $ AMOUNT
                                                                          TRAN. CODE1                                  RECEIVED

TOTAL GROSS RECEIPTS                                                                                                    $7,749,975.90
1
 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


             EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                    PAYEE                                       DESCRIPTION                          UNIFORM           $ AMOUNT
                                                                                                    TRAN. CODE            PAID

                                                   Non-Estate Funds Paid to Third
Deposit Retained by Seller                         Parties                                           8500-002              25,000.00

                                                   Non-Estate Funds Paid to Third
Group, Lexon Surety                                Parties                                           8500-002             750,000.00

TOTAL FUNDS PAID TO DEBTOR &                                                                                             $775,000.00
THIRD PARTIES


             EXHIBIT 3 – SECURED CLAIMS

                                                  UNIFORM       CLAIMS
                                                                                    CLAIMS               CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.     SCHEDULED                                                 CLAIMS PAID
                                                                                   ASSERTED             ALLOWED
                                                   CODE     (from Form 6D)

              A.B. Sitework, Inc. 195
              Round Bar Drive Hampton
              Cove, AL 35763                                      868,522.40                   NA                 NA              0.00


              Azimuth Control P.O. Box
              160373 Boiling Springs, SC
              29316                                                54,107.50                   NA                 NA              0.00


              Hickory Nut Dev. Co. 2975
              Memorial Hwy. Lake Lure,
              NC 28746                                                   0.00                  NA                 NA              0.00




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                                                UNIFORM        CLAIMS
                                                                                 CLAIMS              CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.      SCHEDULED                                                CLAIMS PAID
                                                                                ASSERTED            ALLOWED
                                                 CODE      (from Form 6D)

            LCE Engineers, Inc. 603
            Macy Drive Roswell, GA
            30076                                                53,275.92                 NA                 NA              0.00


            Rutherford County Tax Coll
            P.O. Box 143 Rutherfordton,
            NC 28139-0143                                              0.00                NA                 NA              0.00


            Rutherford County Tax Coll.
            P.O. Box 143 Rutherfordton,
            NC 28139                                            475,752.00                 NA                 NA              0.00


            Sailors Engineering Assoc.
            1675 Spectrum Drive
            Lawrenceville, GA 30043                              56,580.00                 NA                 NA              0.00


            Snow Creek Landscaping P.O.
            Box 10 Skyland, NC 28776                             60,960.00                 NA                 NA              0.00


            Taylor & Murphy Const. P.O.
            Box 1243 Charlotte, NC
            28201-1243                                           68,502.12                 NA                 NA              0.00


            Wachovia Bank, N.A. P.O.
            Box 740502 Atlanta, GA
            30374-0502                                         2,026,204.00                NA                 NA              0.00


            A B Sitework, Inc                   4110-000               NA          116,848.02          999,724.00       999,724.00


5           Ab Sitework                         4110-000               NA         1,116,848.02        1,116,848.02            0.00


            Azimuth Control Inc                 4110-000               NA           54,107.50           54,107.50             0.00




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                                                UNIFORM        CLAIMS
                                                                                 CLAIMS              CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.      SCHEDULED                                                CLAIMS PAID
                                                                                ASSERTED            ALLOWED
                                                 CODE      (from Form 6D)

            BUNCOMBE COUNTY
            TAX COLLECTOR                       4110-000               NA              172.00              172.00           172.00


            HICKORY NUT
            DEVELOPMENT CORP                    4110-000               NA           55,989.00           55,989.00              0.00


            KeyBank                             4110-000               NA         1,361,161.16        1,361,161.16     1,361,161.16


            KeyBank National
            Association                         4110-000               NA          552,548.73          552,548.73       552,548.73


            LCE Engineering                     4110-000               NA           74,285.34           74,285.34              0.00


6           Lce Engineering                     4110-000               NA           74,285.34           74,285.34              0.00


            Lee Engineering                     4110-000               NA                 0.00                0.00             0.00


2           Pc Shamburger Design Studio 4110-000                       NA             2,116.80            1,905.12         1,905.12


10          Rutherford County                   4110-000               NA         2,254,704.28        1,931,121.51             0.00


3           Rutherford County                   4110-000               NA          466,053.00          466,053.00              0.00


            Rutherford Tax Collector            4110-000               NA         1,303,182.12        1,303,182.12     1,303,182.12


            Earthwise Designs                   4120-000               NA           39,600.00           39,600.00        39,600.00


            Taylor & Murphy
            Construction Co., Inc.              4120-000               NA           61,651.90           61,651.90        61,651.90

TOTAL SECURED CLAIMS                                         $3,663,903.94       $7,533,553.21       $8,092,634.74    $4,319,945.03


            EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES




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                                           UNIFORM
                                                         CLAIMS        CLAIMS            CLAIMS
                PAYEE                       TRAN.                                                       CLAIMS PAID
                                                       SCHEDULED      ASSERTED          ALLOWED
                                            CODE

Leigh R. Meininger                          2100-000           NA        223,229.25              0.00       223,229.25


Leigh R. Meininger                          2200-000           NA           317.96            317.96           317.96


International Sureties, Ltd                 2300-000           NA          3,136.68          3,136.68         3,136.68


International Sureties, Ltd.                2300-000           NA          2,609.21          2,609.21         2,609.21


Ltd. International Sureties                 2300-000           NA           -500.31           -500.31          -500.31


HRH of Oregon                               2420-000           NA          2,423.70          2,423.70         2,423.70


Iron Mountain                               2420-000           NA         14,407.05         14,407.05        14,407.05


Servient                                    2420-000           NA         15,148.66         15,148.66        15,148.66


Bank of America                             2600-000           NA          2,137.13          2,137.13         2,137.13


Bank of Kansas City                         2600-000           NA          2,294.98          2,294.98         2,294.98


Capital Reporting, Inc.                     2690-000           NA           567.20            567.20           567.20


EWALD ENTERPRISES, INC.                     2690-000           NA         29,580.06         29,580.06        29,580.06


Kenneth Brady                               2690-000           NA          5,508.00          5,508.00         5,508.00


Willis of Oregon, Inc.                      2690-000           NA          1,089.00          1,089.00         1,089.00


Clerk of the Court                          2700-000           NA           500.00            500.00           500.00


Lexon Surety Group                          2990-002           NA              0.00        750,000.00       750,000.00


John Henry Meininger, III                   3110-000           NA         16,095.00         16,095.00        16,095.00




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                                           UNIFORM
                                                         CLAIMS        CLAIMS             CLAIMS
                PAYEE                       TRAN.                                                        CLAIMS PAID
                                                       SCHEDULED      ASSERTED           ALLOWED
                                            CODE

John Henry Meininger, III                   3120-000           NA            140.66            140.66            140.66


Broad & Cassel P.A.                         3210-000           NA       1,469,355.91      1,469,355.91      1,530,982.15


Broad & Cassel, Attorneys at Law            3210-000           NA         21,000.00          21,000.00        21,000.00


Broad And Cassel                            3210-000           NA         65,366.35          65,366.35        65,366.35


Roy S. Kobert, Esquire                      3210-000           NA         69,626.20          69,626.20        69,626.20


Roy S. Kobert, P.A.                         3210-000           NA         35,879.20          35,879.20        35,879.20


Broad & Cassel P.A.                         3220-000           NA         64,447.75          64,447.75        72,821.51


Broad & Cassel, Attorneys at Law            3220-000           NA           2,661.32          2,661.32          2,661.32


Broad And Cassel                            3220-000           NA            538.90            538.90            538.90


Roy S. Kobert, Esquire                      3220-000           NA           8,881.73          8,881.73          8,881.73


Braver, Schimler, Pierce, Jenkins,
LLP                                         3410-000           NA         15,289.50          15,289.50        15,289.50


Emerson C. Noble, C. P. A.                  3410-000           NA           3,885.50          3,885.50          3,885.50


NPerspective, LLC                           3410-000           NA        103,467.25         103,467.25       103,467.25


Emerson C. Noble, C. P. A.                  3420-000           NA             11.70              11.70            11.70


NPerspective, LLC                           3420-000           NA           3,465.39          3,465.39          3,465.39


Glenn Rasmussen                             3721-000           NA           2,587.50          2,587.50          2,587.50


Glenn Rasmussen                             3722-000           NA             75.53              75.53            75.53




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                                          UNIFORM
                                                               CLAIMS             CLAIMS               CLAIMS
               PAYEE                       TRAN.                                                                       CLAIMS PAID
                                                             SCHEDULED           ASSERTED             ALLOWED
                                           CODE

LLP Latham Shuker Eden &
Beaudine                                   3991-000                   NA               1,878.33             1,878.33          1,878.33


P. E. Gary J. McCabe                       3991-000                   NA              32,740.68           32,740.68         32,740.68


Zacco & Associates                         3991-000                   NA                 617.50              617.50            617.50


P. E. Gary J. McCabe                       3992-000                   NA               4,102.32             4,102.32          4,102.32

TOTAL CHAPTER 7 ADMIN. FEES                                          $NA          $2,224,562.79        $2,751,333.54     $3,044,562.79
AND CHARGES



            EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                                          UNIFORM
                                                               CLAIMS             CLAIMS               CLAIMS
               PAYEE                       TRAN.                                                                       CLAIMS PAID
                                                             SCHEDULED           ASSERTED             ALLOWED
                                           CODE

NA: NA                                           NA                   NA                     NA                 NA                NA

TOTAL PRIOR CHAPTER ADMIN.                                           $NA                   $NA                 $NA               $NA
FEES AND CHARGES



            EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

                                                                 CLAIMS              CLAIMS
                                                 UNIFORM
                                                               SCHEDULED            ASSERTED            CLAIMS
CLAIM NO.              CLAIMANT                   TRAN.                                                                CLAIMS PAID
                                                                (from Form        (from Proofs of      ALLOWED
                                                  CODE
                                                                    6E)               Claim)

             Rutherfod County Tax Coll
             P.O. Box 143 Rutherford
             Township, NC 28139-0143                                  588.41                   NA                NA               0.00


             Earthwise Design, Inc.               5200-000               NA              2,860.00           2,860.00          2,860.00




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                                                              CLAIMS            CLAIMS
                                                 UNIFORM
                                                            SCHEDULED          ASSERTED            CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                           CLAIMS PAID
                                                             (from Form      (from Proofs of      ALLOWED
                                                  CODE
                                                                 6E)             Claim)

            Taylor And Murphy
            Construction Co., Inc.               5200-000            NA             4,452.64           4,452.64        4,452.64


            Abdul Nizam                          5600-000            NA             5,000.00           5,000.00        5,000.00


            Cecelia A. Toth                      5600-000            NA             3,000.00           3,000.00        3,000.00


            Donna Littleton                      5600-000            NA             2,500.00           2,500.00        2,500.00


            Kirk Maes                            5600-000            NA             1,875.00           1,875.00        1,875.00


8           United States Trustee                5800-000            NA               650.00            650.00             0.00

TOTAL PRIORITY UNSECURED                                          $588.41         $20,337.64         $20,337.64      $19,687.64
CLAIMS



            EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                              CLAIMS            CLAIMS
                                                 UNIFORM
                                                            SCHEDULED          ASSERTED            CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                           CLAIMS PAID
                                                             (from Form      (from Proofs of      ALLOWED
                                                  CODE
                                                                 6F)             Claim)

            A B Sitework, Inc. 195 Round
            Bar Drive Hampton Cove, AL
            35763                                              868,523.00                 NA               NA              0.00


            Akerman Senterfitt P.O. Box
            4906 Orlando, FL 32802                                 546.00                 NA               NA              0.00


            Asheville Communications 34
            Orchard St Asheville, NC
            28801                                                  373.63                 NA               NA              0.00




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                                                             CLAIMS            CLAIMS
                                                 UNIFORM
                                                           SCHEDULED          ASSERTED            CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                            (from Form      (from Proofs of      ALLOWED
                                                  CODE
                                                                6F)             Claim)

            Ashville Area Nanny Network
            89 Morningside Drive
            Asheville, NC 28806                                   135.00                 NA              NA           0.00


            AT&T Long Distance Service
            PO Box 580383 Charlotte, NC
            28258                                                 595.59                 NA              NA           0.00


            AT&T-105262 P.O. Box
            105262 Atlanta, GA 30348-
            5262                                                6,241.63                 NA              NA           0.00


            Azimuth Control Inc. P.O.
            Box 160373 Boiling Springs,
            SC 29316                                           54,107.50                 NA              NA           0.00


            Beachview Tent Rentals 3387
            Hwy 17 South Brunswick, GA
            31523                                              70,961.72                 NA              NA           0.00


            Better Business Bureau 112
            Executive Park Asheville, NC
            28801                                                 175.00                 NA              NA           0.00


            Bond Safeguard Ins. Co. 1919
            S. Highland Avenue Suite 300
            Lombard, IL 60148                                       0.00                 NA              NA           0.00


            Bottom Line Products 4808
            Technology Drive Martinez,
            GA 30907                                            1,583.19                 NA              NA           0.00




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                                                             CLAIMS            CLAIMS
                                                 UNIFORM
                                                           SCHEDULED          ASSERTED            CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                            (from Form      (from Proofs of      ALLOWED
                                                  CODE
                                                                6F)             Claim)

            Bragg Portable Toilets, Inc.
            P.O. Box 160299 Boiling
            Springs, SC 29316                                   1,396.84                 NA              NA           0.00


            Business Cards Tomorrow #8
            1150 Florida Central Parkway
            Longwood, FL 32750                                  1,889.78                 NA              NA           0.00


            CDW Direct Llc P.O. Box
            75723 Chicago, IL 60675-
            5723                                                  139.57                 NA              NA           0.00


            Copy Works! 806 Locust
            Street, Ste 300
            Hendersonville, NC 28792                            4,686.54                 NA              NA           0.00


            Devictor Langham, Inc.
            (DVL Inc.) 81 Woodstock Rd
            Roswell, GA 30075                                   4,773.04                 NA              NA           0.00


            Duke Energy P.O. Box 70516
            Charlotte, NC 28272-0516                              168.09                 NA              NA           0.00


            E.H.G. Appraisal Service 20
            Jervey, Ste 104 Tryon Nc, NC
            28782                                                 650.00                 NA              NA           0.00


            Earthwise Designs Inc. P.O.
            Box 187 Harris, NC 28074                           44,411.38                 NA              NA           0.00




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                                                             CLAIMS            CLAIMS
                                                 UNIFORM
                                                           SCHEDULED          ASSERTED            CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                            (from Form      (from Proofs of      ALLOWED
                                                  CODE
                                                                6F)             Claim)

            Federal Express-Pittsburgh
            P.O. Box 371461 Pittsburgh,
            PA 15250-7461                                         442.52                 NA              NA           0.00


            Four Points By Sheraton 22
            Woodfin Street Ashville, NC
            28801                                               5,360.52                 NA              NA           0.00


            Freeman Gas Hendersonville
            4848 Asheville Highway
            Hendersonville, NC 28791                            1,298.22                 NA              NA           0.00


            French Broad Lawn &
            Landscape P.O. Box 845
            Enka, NC 28728                                      3,350.00                 NA              NA           0.00


            GDS Inc. P.O. Box 9001707
            Louisville, KY 40290-1707                             652.82                 NA              NA           0.00


            Go Minis 6 Trident Drive
            Arden, NC 28704                                       469.70                 NA              NA           0.00


            Guardsmark, LLC Mail Code
            2204 P.O. Box 2121
            Memphis, TN 38159                                   8,001.84                 NA              NA           0.00


            Hapton Inn-Hendersonville
            155 Sugarloaf Road
            Hendersonville, NC 28792                            2,274.76                 NA              NA           0.00




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                                                             CLAIMS            CLAIMS
                                                 UNIFORM
                                                           SCHEDULED          ASSERTED            CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                            (from Form      (from Proofs of      ALLOWED
                                                  CODE
                                                                6F)             Claim)

            Hickory Nut Development
            Corp 2975 Memorial Hwy
            Lake Lure, NC 28746                                55,989.00                 NA              NA           0.00


            Human Assets South, Inc.
            4582 Atwater Court, Ste 10
            Buford, GA 30518                                      354.00                 NA              NA           0.00


            Image Solutions 12 National
            Avenue Fletcher, NC 28732                             421.25                 NA              NA           0.00


            Image Solutions Llc 8742
            Innovation Way Chicago, IL
            06068-2008                                          1,232.97                 NA              NA           0.00


            John C Hunter 1 North Pack
            Square, Ste 418 Asheville, NC
            28801                                               2,273.20                 NA              NA           0.00


            Lake Lure Cabin Concierge,
            Inc. P.O. Box 692 Lake Lure,
            NC 28746                                              575.00                 NA              NA           0.00


            Lake Lure Properties, LLC
            625 Oak Street Green Cove
            Sprgs, FL 32043                                     5,541.38                 NA              NA           0.00


            Lake Lure Tours, Inc. 625
            Oak Street Green Cove
            Springs, FL 32043                                   3,575.08                 NA              NA           0.00




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                                                             CLAIMS            CLAIMS
                                                 UNIFORM
                                                           SCHEDULED          ASSERTED            CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                            (from Form      (from Proofs of      ALLOWED
                                                  CODE
                                                                6F)             Claim)

            LCE Engineers Inc 603 Macy
            Drive Roswell, GA 30076                            53,586.49                 NA              NA           0.00


            Lebleu Bottled Water P.O.
            Box 8127 Asheville, NC
            28814                                                  93.45                 NA              NA           0.00


            Lemontree PCS, LLC 172
            Highlands Square Dr #125
            Hendersonville, NC 28792                            2,790.00                 NA              NA           0.00


            Leslie Barkett Funtastic Faces
            126 Estelle Park Drive
            Asheville, NC 28806                                   675.00                 NA              NA           0.00


            Media Works Inc. 2136 Kings
            Ave Jacksonville, FL 32207                          2,647.63                 NA              NA           0.00


            Pitney Bowes Global P.O.
            Box 856460 Louisville, KY
            40285-6460                                          1,059.13                 NA              NA           0.00


            Pitney Bowes Purchase Power
            P.O. Box 856042 Louisville,
            KY 40285-6042                                      10,980.41                 NA              NA           0.00


            Private Mountain
            Communities P.O. Box 609
            Skyland, NC 28776                                   7,000.00                 NA              NA           0.00




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                                                             CLAIMS            CLAIMS
                                                 UNIFORM
                                                           SCHEDULED          ASSERTED            CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                            (from Form      (from Proofs of      ALLOWED
                                                  CODE
                                                                6F)             Claim)

            Progressive Communications
            1001 Sand Pond Rd Lake
            Mary, FL 32746                                     24,383.21                 NA              NA           0.00


            R L Green Surveying &
            Mapping 61 Logan St Marion,
            NC 28752                                               30.00                 NA              NA           0.00


            Renaissance Asheville Hotel
            2450 Galleria Parkway
            Atlanta, GA 30339                                  42,387.36                 NA              NA           0.00


            Revolve 650 Technology Park
            Lake Mary, FL 32746                                81,774.66                 NA              NA           0.00


            Sailors Engineering
            Associates 1675 Spectrum Dr
            Lawrenceville, GA 30043                            32,580.00                 NA              NA           0.00


            Securitas Security Services
            P.O. Box 403412 Atlanta, GA
            30384-3412                                         37,514.20                 NA              NA           0.00


            Shamburger Design Studio
            Inc. P.O. Box 966
            Hendersonville, NC 28793-
            0966                                                2,900.47                 NA              NA           0.00


            Sight & Sound Productions
            11193 St Johns Ind Pkwy N
            Jacksonville, FL 32246                              6,620.00                 NA              NA           0.00




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                                                             CLAIMS            CLAIMS
                                                 UNIFORM
                                                           SCHEDULED          ASSERTED            CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                            (from Form      (from Proofs of      ALLOWED
                                                  CODE
                                                                6F)             Claim)

            Snow Creek Landscaping P.O.
            Box 10 Skyland, NC 28776                            3,718.32                 NA              NA           0.00


            Southern Alarm & Security
            P.O. Box 428 Hendersonville,
            NC 28973                                               49.90                 NA              NA           0.00


            Southern HOA Mgmt 1450
            Flagler Avenue Ste 21
            Jacksonville, FL 32007                              1,123.02                 NA              NA           0.00


            Staples Business Advantage
            P.O. Box 530621 Dept Atl
            Atlanta, GA 30353-0621                                816.36                 NA              NA           0.00


            Staples Credit Plan P.O. Box
            6721 The Lakes, NV 88901-
            6721                                                  254.03                 NA              NA           0.00


            Steven Martine Photography
            1431 NE 14th Ct. Ste 33
            Jensen Beach, FL 34957                              6,750.00                 NA              NA           0.00


            The 1927 Lake Lure Inn and
            Spa 625 Oak Street Green
            Cove Sprgs, FL 32043                                1,735.53                 NA              NA           0.00


            The Biltmore Company One
            North Pack Square Asheville,
            NC 28801                                              100.00                 NA              NA           0.00




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                                                              CLAIMS            CLAIMS
                                                 UNIFORM
                                                            SCHEDULED          ASSERTED            CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                            CLAIMS PAID
                                                             (from Form      (from Proofs of      ALLOWED
                                                  CODE
                                                                 6F)             Claim)

            The Bus Bank 200 W. Adams
            #1100 Chicago, IL 60606                              3,436.00                 NA                NA              0.00


            Town of Lake Lure P.O. Box
            255 Lake Lure, NC 28746                                108.82                 NA                NA              0.00


            Tsa Choice Inc. 108 Asheville
            Commerce Pkwy Candler, NC
            28715                                                  405.50                 NA                NA              0.00


            Wachovia Commercial Loan
            Payment Center PO Box
            740502 Atlanta, GA 30374                            36,340.72                 NA                NA              0.00


            Windstone LLC 18101
            Watercraft Place Cornelius,
            NC 28031                                               181.80                 NA                NA              0.00


            A. RICHARD JANIAK                    7100-000            NA        34,225,000.00       34,225,000.00            0.00


            ALBERT HUGH BROWN &
            LINDA W. BROWN, II                   7100-000            NA        34,430,000.00       34,430,000.00            0.00


            ANN M. MILLER                        7100-000            NA        34,000,000.00       34,000,000.00            0.00


            ANTHONY J. POWELL                    7100-000            NA        34,280,000.00       34,280,000.00            0.00


            Asst Attorney General
7           Sueanna P Supmter                    7100-000            NA            28,161.00          28,161.00           104.44


1           Beachview Tent Rentals               7100-000            NA            75,219.42          75,219.42           278.96




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                                                              CLAIMS            CLAIMS
                                                 UNIFORM
                                                            SCHEDULED          ASSERTED            CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                            CLAIMS PAID
                                                             (from Form      (from Proofs of      ALLOWED
                                                  CODE
                                                                 6F)             Claim)

            Bond Safeguard Insurance Co. 7100-000                    NA        41,918,810.21       41,918,810.21      155,459.49


            BRIAN J. KREBS                       7100-000            NA           389,700.00         389,700.00             0.00


            BUSINESS &
            CONSTRUCTION LAW
            GROUP, LLC                           7100-000            NA            48,696.75          48,696.75        48,696.75


            CALVIN C. HENDERSON &
            ELAINE W. HENDERSON                  7100-000            NA           944,730.00         944,730.00             0.00


            DANIEL E. COOK AND
            PEGGY R COOK                         7100-000            NA        34,256,500.00       34,256,500.00            0.00


            DAVE LEE WOOD &
            STEPHEN PETER BLOOM                  7100-000            NA         1,049,700.00        1,049,700.00            0.00


            DAVID R. BALL AND KIM
            R. SCHEMMER                          7100-000            NA        34,180,000.00       34,180,000.00            0.00


            DEBRA HUNTER AKA
            DEBRA ANN KUCHER                     7100-000            NA        34,315,000.00       34,315,000.00            0.00


            DIANE L. TAUBER                      7100-000            NA        34,540,000.00       34,540,000.00            0.00


            DOUGLAS E. & LINDA S.
            ROBINSON                             7100-000            NA        34,184,000.00       34,184,000.00            0.00


            ELAN B. MANHAM &
            VERA MANHAM                          7100-000            NA        34,500,000.00       34,500,000.00            0.00




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                                                              CLAIMS            CLAIMS
                                                 UNIFORM
                                                            SCHEDULED          ASSERTED            CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                            CLAIMS PAID
                                                             (from Form      (from Proofs of      ALLOWED
                                                  CODE
                                                                 6F)             Claim)

            ERIC J. FURCHES &
            DEBRA L. FURCHES                     7100-000            NA        34,180,000.00       34,180,000.00           0.00


            ERIC R. DUNNDER &
            ELLEN M. DUNNDER, Jr.                7100-000            NA        34,150,000.00       34,150,000.00           0.00


            FRANK R. SEAGER                      7100-000            NA        34,790,000.00       34,790,000.00           0.00


            GARY D. FORCE &
            SANDRA J. FORCE                      7100-000            NA        34,522,000.00       34,522,000.00           0.00


            H. MARTIN LANCASTER &
            TRENT J. TEMPLER                     7100-000            NA        34,081,000.00       34,081,000.00           0.00


            HERSCHEL ALLEN &
            ELIZABETH P. ALLEN                   7100-000            NA           749,700.00         749,700.00            0.00


            JAMES M. MCCREADY                    7100-000            NA        34,210,000.00       34,210,000.00           0.00


            JESS L. SOLOMON                      7100-000            NA        34,110,000.00       34,110,000.00           0.00


            JOHN J. KASLANOWICZ &
            RACHEL H.
            KASLANOWICZ                          7100-000            NA         3,674,700.00        3,674,700.00           0.00


            JOHN J. KENNA & JANE G.
            KENNA                                7100-000            NA         3,408,100.00        3,408,100.00           0.00


            JOHN W. UTHMEIER &
            CARRIE A. UTHMEIER                   7100-000            NA        34,366,000.00       34,366,000.00           0.00




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                                                              CLAIMS            CLAIMS
                                                 UNIFORM
                                                            SCHEDULED          ASSERTED            CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                            CLAIMS PAID
                                                             (from Form      (from Proofs of      ALLOWED
                                                  CODE
                                                                 6F)             Claim)

            JOSE M. GONZALEZ &
            CATALINA GONZALEZ                    7100-000            NA        34,270,000.00       34,270,000.00            0.00


            JOSEPH LANG & MARY E.
            LAND / THOMAS LANG &
            STACEY LANG                          7100-000            NA        34,135,000.00       34,135,000.00            0.00


            Key Bank                             7100-000            NA            60,000.00          60,000.00        60,000.00


            LAWRENCE A. BARD &
            LOUISE M. HEATH BARD                 7100-000            NA        34,000,000.00       34,000,000.00            0.00


            LAWRENCE A. SNYDER &
            ROSLYN SNYDER                        7100-000            NA        34,230,000.00       34,230,000.00            0.00


            LAWRENCE BARD                        7100-000            NA        34,200,000.00       34,200,000.00            0.00


            Leigh R. Meininger, Trustee          7100-000            NA            22,000.00          22,000.00        22,000.00


            MARK A. HOLDEMAN &
            LINDA L. HOLDEMAN                    7100-000            NA        34,077,000.00       34,077,000.00            0.00


            MARY A. TONDREAU                     7100-000            NA        34,677,000.00       34,677,000.00            0.00


            MICHAEL HENDERSON &
            VIRGINIA HENDERSON                   7100-000            NA        34,207,000.00       34,207,000.00            0.00


            MICHAEL JOHN MALO &
            MARIA DE PARA MALO                   7100-000            NA        34,155,000.00       34,155,000.00            0.00


            NIGHT HAWK WAY LLC                   7100-000            NA        34,000,000.00       34,000,000.00            0.00




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                                                              CLAIMS            CLAIMS
                                                 UNIFORM
                                                            SCHEDULED          ASSERTED            CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                            CLAIMS PAID
                                                             (from Form      (from Proofs of      ALLOWED
                                                  CODE
                                                                 6F)             Claim)

            ORLANDO L. EVORA &
            CAROLYN C. EVORA                     7100-000            NA        34,162,000.00       34,162,000.00            0.00


            PATRICIA M. BOND
            REVOCABLE
            TRUST/PATRICIA BOND
            TRUSTEE                              7100-000            NA        34,000,000.00       34,000,000.00            0.00


            PATRICK DEVLIN &
            JENNIFER DEVLIN                      7100-000            NA        34,189,000.00       34,189,000.00            0.00


            PETER J. & SARAH H.
            RUDE                                 7100-000            NA        34,000,000.00       34,000,000.00            0.00


            R AND C PROPERTIES LLC 7100-000                          NA        34,190,000.00       34,190,000.00            0.00


            RICHARD MAURICE &
            LAURA MAURICE                        7100-000            NA        34,120,000.00       34,120,000.00            0.00


            ROBB LITVAK & AMY
            LITVAK                               7100-000            NA        34,270,000.00       34,270,000.00            0.00


            ROBERT J. DANDREA                    7100-000            NA        34,180,000.00       34,180,000.00            0.00


4           Rutherford County                    7100-000            NA        15,375,737.00       14,625,737.00       54,240.80


            SAWYER REVOCABLE
            COMMON TRUST DAVID
            T. SAWYER TRUSTEE                    7100-000            NA        34,234,000.00       34,234,000.00            0.00


            SCOTT R. HAVLOCK &
            WENDY L. TARR                        7100-000            NA        34,225,000.00       34,225,000.00            0.00




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                                                              CLAIMS              CLAIMS
                                                 UNIFORM
                                                            SCHEDULED            ASSERTED             CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                               CLAIMS PAID
                                                             (from Form        (from Proofs of       ALLOWED
                                                  CODE
                                                                 6F)               Claim)

            STEVEN C. CORBETT &
            DENISE R. CORBETT                    7100-000             NA         34,405,000.00       34,405,000.00              0.00


            SVEN RONNY CARLSSON
            & SUSAN P. CARLSSON
            AKA CARLSSON INVESTM 7100-000                             NA          1,199,700.00         1,199,700.00             0.00


            WILLIAM CRAIG BOGNER
            & PAMELA SUE BARR                    7100-000             NA         34,306,000.00       34,306,000.00              0.00

TOTAL GENERAL UNSECURED                                      $1,515,211.77   $1,438,496,454.38    $1,437,746,454.38      $340,780.44
CLAIMS




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                                                                                                                                                                                                       Page:       1
                                                   Case 6:08-bk-10159-KSJ                      Doc 1805         Filed 08/24/20              Page 24 of 62
                                                                                            FORM 1
                                                                        INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                         ASSET CASES
                                                                                                                                                                                                           Exhibit 8
Case No:              08-10162                          KSJ           Judge:        Karen S Jennemann                            Trustee Name:                      Leigh R. Meininger
Case Name:            LLC. LR BUFFALO CREEK                                                                                      Date Filed (f) or Converted (c):   03/23/2009 (c)
                                                                                                                                 341(a) Meeting Date:               04/20/2009
For Period Ending:    05/13/2020                                                                                                 Claims Bar Date:                   07/20/2009


                                   1                                                2                           3                             4                          5                             6

                         Asset Description                                       Petition/                Est Net Value               Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                          Unscheduled            (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                                 Values                Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                           Exemptions,                                                                               Assets
                                                                                                         and Other Costs)

  1. Post-Petition Interest Deposits (u)                                                 Unknown                          N/A                                                  1,466.06                          FA
  2. Real Property - HGTV &quot;Dream Home&quot; and im                              2,210,488.00                1,200,000.00                                             1,200,000.00                           FA
  3. 323 lots of real property, improvements, amenities                              4,965,793.00                2,366,534.67                                             2,316,534.67                           FA
  4. Wachovia Bank, N.A. Checking operating account                                          141.00                       0.00                                                       0.00                        FA
  5. Wachovia Bank, N.A. Money market account                                                 14.00                       0.00                                                       0.00                        FA
  6. Wachovia Bank, N.A. Escrow account                                                      750.00                       0.00                                                       0.00                        FA
  7. Furnishings                                                                        237,024.00                        0.00                                                       0.00                        FA
  8. Machinery and Equipment                                                            269,847.00                        0.00                                                       0.00                        FA
  9. Prepaid helicopter bulk time with Falcon Air Suppo                                  13,039.00                        0.00                                                       0.00                        FA
 10. Prepaid salesforce license and support                                               4,164.00                        0.00                                                       0.00                        FA
 11. 176 Boys Camp Road, Lake Lure, NC                                                         0.00                 167,500.00                                               167,500.00                          FA
 12. Deposits Held in Escrow                                                                   0.00                  99,000.00                                                99,000.00                          FA
 13. Litigation in Adversary Lawsuits (u)                                                      0.00              1,000,000.00                                             3,364,213.00                           FA
 14. Deposit by Catalyst on sale of real property (u)                                          0.00                  75,000.00                                                75,000.00                          FA
 15. Refund of Advertising Expenses (u)                                                        0.00                   9,000.00                                                 7,262.17                          FA
 16. Sale of Declarant Rights to Grey Rock Community                                           0.00                  15,000.00                                                15,000.00                          FA
     Association, (u)
 17. 252 Lots (u)                                                                              0.00                 504,000.00                                               504,000.00                          FA


                                                                                                                                                                                  Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                 $7,701,260.00              $5,436,034.67                                            $7,749,975.90                          $0.00
                                                                                                                                                                                  (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:




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                                                 Case 6:08-bk-10159-KSJ                  Doc 1805           Filed 08/24/20          Page 25 of 62
 Bond Safeguard

Harris Beach PLLC
333 West Washington St                                                                                                                                                            Exhibit 8
Suite 200
Syracuse NY 13202

Attn: Lee E Woodard, Esq



New Address Bond SAfe04/02/09: $150,000.01 received as a carve out from Chapter 11 case. Money transferred to parent company Land Resource, LLC.

04/20/09: 341 Meeting concluded for follow up.

04/08/09: Application to Employ John Henry Meininger, III as Attorney for Trustee is filed (Document Number 24).

04/10/09: Order Approving Application to Employ/Retain John H. Meininger as Atty for the Trustee (Document Number 25).

05/12/09: Application to Employ Teresa Alexander as real estate agent is filed (Document Number 34).

05/14/09: Order Approving Application to Employ/Retain Teresa Alexander as Broker/Real Estate Agent is entered (Document Number35).

05/22/09: Motion to Sell Property Free and Clear of Liens (Private Sale) Real Property Located in Lake Lure, North Carolina is filed (Document Number 37).

06/15/09: Order Approving Application to Employ/Retain Roy S Kobert as Special Counsel is entered (Document Number 48).

06/19/09: Order Granting Motion To Sell (Private Sale) Real Property Located in Lake Lure, North Carolina is entered (Document Number 52).

06/30/09: Application to Employ Christine W. Pierce as Accountant for Trustee is filed (Document Number 58).

07/14/09: Amended Order Appointing Special Counsel is entered (Document Number 64). Order Approving Application to Employ/Retain Christine W Pierce as Accountant is
entered (Document Number 65).

07/16/09: Order on Joint Administration has been granted.

12/31/10: Case jointly administered with Land Resource, LLC, Case Number 6:08-bk-10159-ABB. Please see notes in that case.

12/31/15: All litigation is complete and compromised. Settlement payments will be complete year end 2016.

08/03/16: Objection to Non-Pacer Claim of Ashville House, LLC/Scripps Networks, Inc. is filed (Document Number 1527). Objection to Non-Pacer Claims filed by Frank R.
Seager, Wayne Cox and Josephine Cox, Mark A. Holdeman & Linda L. Holdeman, F. Lynn Holec, Debra Hunter a/k/a Debra Ann Kucher, Roland G. Husson and Josefina
Husson, Carl Jahrstorfer and Patricia Jahrstorfer, Jesse Lawrence Johnson and Patricia Gorman Johnson, Reuben T. Joy and Krystal K. Joy, Mitch Kahan and Heidi Kahan,
John J. Kenna & Jane G. Kenna, Paul Kirk and Dawn Kirk, H. Martin Lancaster & Trent J. Templer, Christopher Goetz and Vicki Goetz, Jose M. Gonzalez and Catalina
Gonzalez, Fredric R. Gottlied, Scott R. Havlock and Wendy L. Tarr, Michael Henderson and Virginia Henderson, Gary D. Force and Sandra D. Force, Eric J. Furches and Debra
L. Furches, Edward L. Gallup, Collier B. Gladin, Jr., Eric R. Dunnder and Ellen M. Dunnder, Jr., Orlando L. Evora and Carolyn C. Evora, Harold Criag Faircloth and Suzanne
Carrano Faircloth, Cynthia A. Falls and Sandra A. Bungo, Robert J. Dandrea, James R. Davis and Terri Davis, Jr., Tana Diorio, Nicholas E. Cianci and Barbara A. Cianci, Daniel
E. Cook and Peggy R. Cook, Steven C. Corbett and Denise R. Corbett, Charles T. Cumbaa and Maryileen F. Cumbaa, Steven M. Calyore and Jon Rakoski, Steven Michael
Calyore and Lisa Marie Calyore, Eddie H. Babbie, David R. Ball and Kim R. Schemmer, Steven M. Calyore and Ton Eggleston, Patricia M. Bond Revocable Trust, Kenneth S.
Bowdon and Bobbye Jan Bowdon, Albert Hugh Brown & Linda W. Brown, II, Joseph Morello, David T. Stephenson and Debbie L. Stephenson, Ted A. Bauman, William Craig
Bogner and Pemala Sue Barr, Michael B. Bocklet and Terry A. Bocklet, Patrick Devlin and Jennifer Devlin, Christopher Freller and Michelle B. Freller, Dave Lee Wood and
Stephen Peter Bloom, Calvin C. Henderson and Elaine W. Henderson, John Kaslanowicz and Rachel H. Haslanowicz, Glenn A. Day and Katherine Kostoff-Day, Jess L.
Solomon, James P. Samoska and Richard H. Twietmeyer, Sven Ronny Carlsson and Susan P. Carlsson, Brian J. Krebs, Glenn M. Schwartz, Jr. and Dawna L. Swartz, Marcos L.
Rubert and Kathryn M. Rubert, Herschel Allen and Elizabeth P. Allen, Margaret Elizabeth Wood, Margaret Elizabeth Wood, Grey Rock Community Association, Inc., R and C
Properties, LLC, Night Hawk Way, LLC, Barbara L. Mossl, Peter J. and Sarah H. Rude, Michael John Malo and Maria De Para Malo, A. Richard Janiak, Douglas E. and Linda S.
Robinson, Lawrence A. Bard and Louise M. Heath Bard, Boykin Robinson and Jennifer P. Robinson, Lawrence Bard, Anthony J. Powell, Raymond Villemez and Elizabeth
Villemez, Paul J. Orland and Gwen S. Orland, John C. Vilece, Ted W. Olkowski and Martha Anne Olkowski, Sawyer Revocable Trust, David T. Sawyer, Trustee, Christopher
Nesbitt and Elaine Nesbitt, John W. Uthmeier and Carrie A. Uthmeier, Robert W. Nable, Carrie A. Uthmeier, Kirk Morgan and Lauranne Morgan, Mary A. Tondreau, Ann M.
Miller, Diane L. Tauber, Thomas O. Michel, Lawrence A. Snyder and Roslyn Snyder, Smith & Parrish, LLC, John P. Skandamis, James M. McCready, Richard Maurice and Laura
Maurice, Elan B. Menham and Ver Manham, Andre Sherman Maikoo and Emmeline Maikoo, Robb Litvak and Amy Litbak, Seth Lieberman, Joseph Lang and Mar. E. Lang,



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Thomas Lang and Stacey Lang, Christopher Goetz, et al., Thomas L. Plant and Colleen M. Plant is filed (Document Number 1528). Objection to Duplicate Claims by Rutherford
County Revenue Department is filed (Document Number 1529). Motion to Allow Pacer Claims Numbered 2, 3, 5,6 and Non-Pacer Claims of Azimuth Control, Inc., Hickory Nut,
and Lee Engineering is filed (Document Number 1530).
                                                                                                                                                                             Exhibit 8
12/01/16: The claims work is continuing.

12/31/18: Pursuant to request of Judge, this and all related cases are to be closed by 02/13/18.




RE PROP #             2   --   Sale             $1,200,000.00
                               Secured Creditor $1,1625,00.00
                               Gross to Estate $ 37,500.00
RE PROP #            14   --   Deposit on sale of real property forfeited for failure to close
RE PROP #            15   --   Advertising expenses for sale of real property were paid out of LR Buffalo Creek, LLC
                               as other related estates had no funds at the time expenses were due. As cases are
                               closing, funds are repaid to LR Buffalo Creek, LLC. Remaining amount due is unknown
                               as of this time.
RE PROP #            17   --   Pursuant to Document Number 1706, all proceeds of sale go directly to creditor
                               Rutherford County

Initial Projected Date of Final Report (TFR): 04/30/2011              Current Projected Date of Final Report (TFR): 06/01/2018




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                                                    Case 6:08-bk-10159-KSJ                DocFORM
                                                                                              18052 Filed 08/24/20                     Page 27 of 62
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 08-10162                                                                                             Trustee Name: Leigh R. Meininger                                        Exhibit 9
      Case Name: LLC. LR BUFFALO CREEK                                                                                     Bank Name: BOK Financial
                                                                                                                  Account Number/CD#: XXXXXX0006
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX1424                                                                              Blanket Bond (per case limit): $32,583,498.00
For Period Ending: 05/13/2020                                                                             Separate Bond (if applicable):


       1                2                               3                                            4                                                    5                  6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                          ($)
   04/27/12                       Transfer from Acct # xxxxxx7450           Transfer of Funds                                     9999-000              $128,083.66                              $128,083.66

   05/14/12                       Bank of Kansas City                       Bank Service Fee for April 2012                       2600-000                                        $18.90         $128,064.76

   06/14/12                       Bank of Kansas City                       Bank Service Fee under 11                             2600-000                                       $146.44         $127,918.32
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   07/16/12                       Bank of Kansas City                       Bank Service Fee under 11                             2600-000                                       $141.62         $127,776.70
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   08/14/12                       Bank of Kansas City                       Bank Service Fee under 11                             2600-000                                       $146.18         $127,630.52
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   09/17/12                       Bank of Kansas City                       Bank Service Fee under 11                             2600-000                                       $146.01         $127,484.51
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   10/15/12                       Bank of Kansas City                       Bank Service Fee under 11                             2600-000                                       $141.16         $127,343.35
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   11/15/12                       Bank of Kansas City                       Bank Service Fee under 11                             2600-000                                       $145.68         $127,197.67
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   11/27/12           2001        NPerspective, LLC                         Pursuant to Court Order                               3410-000                                   $15,136.25          $112,061.42
                                  William A. Long, C.P.A.                   dated 11/09/12 (Document
                                  5971 Brick Court, Suite 100               Number 1317)
                                  Winter Park, Florida 32792
   11/27/12           2002        NPerspective, LLC                         Pursuant to Court Order                               3420-000                                    $1,662.50          $110,398.92
                                  William A. Long, C.P.A.                   dated 11/09/12 (Document
                                  5971 Brick Court, Suite 100               Number 1317)
                                  Winter Park, Florida 32792
   11/27/12           2003        Gary J. McCabe, P. E.                     Pursuant to Court Order                               3991-000                                    $1,450.00          $108,948.92
                                  Red Line Engineering, P.C.                dated 11/09/12 (Document
                                                                            Number 1318)
   11/28/12           2004        Capital Reporting, Inc.                   Court Reporter Services                               2690-000                                       $567.20         $108,381.72
                                  P.O. Box 97696
                                  Raleigh, NC 27624




                                                                                   Page Subtotals:                                                      $128,083.66          $19,701.94
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 08-10162                                                                                                Trustee Name: Leigh R. Meininger                                        Exhibit 9
      Case Name: LLC. LR BUFFALO CREEK                                                                                        Bank Name: BOK Financial
                                                                                                                  Account Number/CD#: XXXXXX0006
                                                                                                                                             Checking Account
  Taxpayer ID No: XX-XXX1424                                                                              Blanket Bond (per case limit): $32,583,498.00
For Period Ending: 05/13/2020                                                                             Separate Bond (if applicable):


       1                2                               3                                            4                                                      5                   6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction                  Uniform Tran.     Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                            Code                                                         ($)
   12/14/12                       Bank of Kansas City                       Bank Service Fee under 11                                 2600-000                                      $139.59         $108,242.13
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   12/17/12           2005        Broad and Cassel, Attorneys at Law        Attorney Fees                                                                                       $70,000.00           $38,242.13
                                  Attn: Roy Kobert, Esquire                 Pursuant to Order Granting
                                  Post Office Box 4961                      Application for Compensation
                                  Orlando, Florida 32801                    (Document Number 1328)
                                  Broad & Cassel P.A.                                                                 ($61,626.24)    3210-000

                                  Broad & Cassel P.A.                                                                  ($8,373.76)    3220-000

   01/16/13                       Bank of Kansas City                       Bank Service Fee under 11                                 2600-000                                      $111.20          $38,130.93
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   02/04/13           2006        International Sureties, Ltd               Bond #016027985                                           2300-000                                       $96.80          $38,034.13
                                  701 Poydras Street, Suite 420
                                  New Orleans, LA 70139
   02/14/13                       Bank of Kansas City                       Bank Service Fee under 11                                 2600-000                                       $43.66          $37,990.47
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   03/12/13           2007        Glenn Rasmussen                           Mediator Fees                                             3721-000                                   $5,175.00           $32,815.47
                                  100 South Ashley Drive, Suite 1300
                                  Tampa, Florida 33602
   03/12/13           2008        Glenn Rasmussen                           Mediator Expenses                                         3722-000                                       $75.53          $32,739.94
                                  100 South Ashley Drive, Suite 1300
                                  Tampa, Florida 33602
   03/12/13           2009        Glenn Rasmussen                           Mediator Fees                                             3721-000                                   $2,587.50           $30,152.44
                                  100 South Ashley Drive, Suite 1300
                                  Tampa, Florida 33602
   03/13/13           2007        Glenn Rasmussen                           Mediator Fees Reversal                                    3721-000                                  ($5,175.00)          $35,327.44
                                  100 South Ashley Drive, Suite 1300
                                  Tampa, Florida 33602
   03/14/13                       Bank of Kansas City                       Bank Service Fee under 11                                 2600-000                                       $51.06          $35,276.38
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)




                                                                                   Page Subtotals:                                                               $0.00          $73,105.34
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 08-10162                                                                                             Trustee Name: Leigh R. Meininger                                        Exhibit 9
      Case Name: LLC. LR BUFFALO CREEK                                                                                     Bank Name: BOK Financial
                                                                                                                  Account Number/CD#: XXXXXX0006
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX1424                                                                              Blanket Bond (per case limit): $32,583,498.00
For Period Ending: 05/13/2020                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                          ($)
   04/08/13           2010        NPerspective, LLC                         Pursuant to Court Order                               3410-000                                    $3,103.00           $32,173.38
                                  William A. Long, C.P.A.                   dated 11/09/12 (Document
                                  5971 Brick Court, Suite 100               Number 1317)
                                  Winter Park, Florida 32792
   04/09/13           2011        Gary J. McCabe, P. E.                     Pursuant to Court Order                               3991-000                                    $2,325.00           $29,848.38
                                  Red Line Engineering, P.C.                dated 11/09/12 (Document
                                                                            Number 1318)
   04/09/13           2012        Gary J. McCabe, P. E.                     Pursuant to Court Order                               3992-000                                       $854.55          $28,993.83
                                  Red Line Engineering, P.C.                dated 11/09/12 (Document
                                                                            Number 1318)
   04/12/13                       Bank of Kansas City                       Bank Service Fee under 11                             2600-000                                        $55.14          $28,938.69
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   04/30/13                       Bank of Kansas City                       Bank Service Fee                                      2600-000                                        $45.57          $28,893.12
                                  7500 College Blvd.
                                  Suite 1450
                                  Overland Park, KS 66210
   05/09/13            13         Bond Safeguard                            Pursuant to Settlement                                1241-000              $300,000.00                              $328,893.12
                                                                            Agreement
   05/31/13                       Bank of Kansas City                       Bank Service Fee under 11                             2600-000                                       $373.76         $328,519.36
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   06/05/13           2013        Gary J. McCabe, P. E.                     Engineering Fees                                      3991-000                                    $3,983.80          $324,535.56
                                  Red Line Engineering, P.C.                Pursuant to Order Approving
                                  3305-109 Durham Drive                     Compromise of Controversy
                                  Raleigh, NC 27603                         dated 01/22/13 (Document
                                                                            Number 1365)
   06/05/13           2014        NPerspective, LLC                         CPA Fees                                              3410-000                                    $5,384.79          $319,150.77
                                  William A. Long, C.P.A.                   Pursuant to Order Approving
                                  5971 Brick Court, Suite 100               Compromise of Controversy
                                  Winter Park, Florida 32792                dated 01/22/13 (Document
                                                                            Number 1365)




                                                                                   Page Subtotals:                                                      $300,000.00          $16,125.61
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 08-10162                                                                                              Trustee Name: Leigh R. Meininger                                        Exhibit 9
      Case Name: LLC. LR BUFFALO CREEK                                                                                      Bank Name: BOK Financial
                                                                                                                   Account Number/CD#: XXXXXX0006
                                                                                                                                            Checking Account
  Taxpayer ID No: XX-XXX1424                                                                               Blanket Bond (per case limit): $32,583,498.00
For Period Ending: 05/13/2020                                                                              Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                       Description of Transaction              Uniform Tran.       Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                          ($)
   06/05/13           2015        Kobert Esquire, Roy S.                    Attorney Fees                                          3210-000                                  $243,785.50           $75,365.27
                                  Broad and Cassel                          Pursuant to Motion for and
                                  Post Office Box 4961                      Notice of Proposed
                                  Orlando, Florida 32802-4961               Compromise of Controversy
                                                                            (Document Number 1313)
                                                                            (Exhibit A - Settlement
                                                                            Agreement) and Order
                                                                            Approving Compromise of
                                                                            Controversy dated 01/22/13
                                                                            (Document Number 1365)
   06/05/13           2016        Kobert Esquire, Roy S.                    Attorney Expenses                                      3220-000                                    $9,546.35           $65,818.92
                                  Broad and Cassel                          Pursuant to Motion for and
                                  Post Office Box 4961                      Notice of Proposed
                                  Orlando, Florida 32802-4961               Compromise of Controversy
                                                                            (Document Number 1313)
                                                                            (Exhibit A - Settlement
                                                                            Agreement) and Order
                                                                            Approving Compromise of
                                                                            Controversy dated 01/22/13
                                                                            (Document Number 1365)
   06/28/13            13         Lexon Insurance Company                   Litigation Fees                                        1249-000              $245,000.00                              $310,818.92

   06/28/13                       Bank of Kansas City                       Bank Service Fee under 11                              2600-000                                       $194.10         $310,624.82
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   07/08/13           2017        NPerspective, LLC                         Invoice 154 Reversal                                   3410-000                                   ($3,295.15)         $313,919.97
                                  William A. Long, C.P.A.                   Objection to fees filed
                                  5971 Brick Court, Suite 100
                                  Winter Park, Florida 32792
   07/08/13           2017        NPerspective, LLC                         Invoice 154                                            3410-000                                    $3,295.15          $310,624.82
                                  William A. Long, C.P.A.
                                  5971 Brick Court, Suite 100
                                  Winter Park, Florida 32792




                                                                                    Page Subtotals:                                                      $245,000.00         $253,525.95
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 08-10162                                                                                             Trustee Name: Leigh R. Meininger                                         Exhibit 9
      Case Name: LLC. LR BUFFALO CREEK                                                                                     Bank Name: BOK Financial
                                                                                                                  Account Number/CD#: XXXXXX0006
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX1424                                                                              Blanket Bond (per case limit): $32,583,498.00
For Period Ending: 05/13/2020                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                           ($)
   07/09/13           2018        Kobert Esquire, Roy S.                    Attorney Expenses                                     3220-000                                      $1,115.29         $309,509.53
                                  Broad and Cassel                          Pursuant to Motion for and
                                  Post Office Box 4961                      Notice of Proposed
                                  Orlando, Florida 32802-4961               Compromise of Controversy
                                                                            (Document Number 1313)
                                                                            (Exhibit A - Settlement
                                                                            Agreement) and Order
                                                                            Approving Compromise of
                                                                            Controversy dated 01/22/13
                                                                            (Document Number 1365)
   07/09/13           2019        Kobert Esquire, Roy S.                    Attorney Fees                                         3210-000                                    $67,028.50          $242,481.03
                                  Broad and Cassel                          Pursuant to Motion for and
                                  Post Office Box 4961                      Notice of Proposed
                                  Orlando, Florida 32802-4961               Compromise of Controversy
                                                                            (Document Number 1313)
                                                                            (Exhibit A - Settlement
                                                                            Agreement) and Order
                                                                            Approving Compromise of
                                                                            Controversy dated 01/22/13
                                                                            (Document Number 1365)
   07/17/13           2020        NPerspective, LLC                         CPA Fees                                              3410-000                                     $3,299.95          $239,181.08
                                  William A. Long, C.P.A.                   Pursuant to Order Approving
                                  5971 Brick Court, Suite 100               Compromise of Controversy
                                  Winter Park, Florida 32792                dated 01/22/13 (Document
                                                                            Number 1365)
   07/31/13                       Bank of Kansas City                       Bank Service Fee under 11                             2600-000                                        $394.91         $238,786.17
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   08/12/13           2021        NPerspective, LLC                         CPA Fees                                              3410-000                                     $7,071.36          $231,714.81
                                  William A. Long, C.P.A.                   Pursuant to Order Approving
                                  5971 Brick Court, Suite 100               Compromise of Controversy
                                  Winter Park, Florida 32792                dated 01/22/13 (Document
                                                                            Number 1365)




                                                                                   Page Subtotals:                                                             $0.00          $78,910.01
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 08-10162                                                                                             Trustee Name: Leigh R. Meininger                                         Exhibit 9
      Case Name: LLC. LR BUFFALO CREEK                                                                                     Bank Name: BOK Financial
                                                                                                                 Account Number/CD#: XXXXXX0006
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX1424                                                                              Blanket Bond (per case limit): $32,583,498.00
For Period Ending: 05/13/2020                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                     Description of Transaction               Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                           ($)
   08/19/13           2022        Kobert Esquire, Roy S.                    Attorney Fees                                         3210-000                                    $53,287.50          $178,427.31
                                  Broad and Cassel                          Pursuant to Motion for and
                                  Post Office Box 4961                      Notice of Proposed
                                  Orlando, Florida 32802-4961               Compromise of Controversy
                                                                            (Document Number 1313)
                                                                            (Exhibit A - Settlement
                                                                            Agreement) and Order
                                                                            Approving Compromise of
                                                                            Controversy dated 01/22/13
                                                                            (Document Number 1365)
   08/19/13           2023        Kobert Esquire, Roy S.                    Attorney Expenses                                     3220-000                                     $2,603.90          $175,823.41
                                  Broad and Cassel                          Pursuant to Motion for and
                                  Post Office Box 4961                      Notice of Proposed
                                  Orlando, Florida 32802-4961               Compromise of Controversy
                                                                            (Document Number 1313)
                                                                            (Exhibit A - Settlement
                                                                            Agreement) and Order
                                                                            Approving Compromise of
                                                                            Controversy dated 01/22/13
                                                                            (Document Number 1365)
   09/09/13           2024        Gary J. McCabe, P. E.                     Engineering Fees                                      3991-000                                     $3,405.00          $172,418.41
                                  Red Line Engineering, P.C.                Pursuant to Order Approving
                                  3305-109 Durham Drive                     Compromise of Controversy
                                  Raleigh, NC 27603                         dated 01/22/13 (Document
                                                                            Number 1365)
   09/09/13           2025        Gary J. McCabe, P. E.                     Pursuant to Court Order                               3992-000                                      $1,199.11         $171,219.30
                                  Red Line Engineering, P.C.                dated 11/09/12 (Document
                                  3305-109 Durham Drive                     Number 1318)
                                  Raleigh, NC 27603
   09/23/13           2026        Kobert Esquire, Roy S.                    Attorney Fees                                         3210-000                                    $42,101.00          $129,118.30
                                  Broad and Cassel                          Pursuant to Motion for and
                                  Post Office Box 4961                      Notice of Proposed
                                  Orlando, Florida 32802-4961               Compromise of Controversy
                                                                            (Document Number 1313)
                                                                            (Exhibit A - Settlement
                                                                            Agreement) and Order
                                                                            Approving Compromise of
                                                                            Controversy dated 01/22/13
                                                                            (Document Number 1365)




                                                                                   Page Subtotals:                                                             $0.00         $102,596.51
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 08-10162                                                                                             Trustee Name: Leigh R. Meininger                                         Exhibit 9
      Case Name: LLC. LR BUFFALO CREEK                                                                                     Bank Name: BOK Financial
                                                                                                                 Account Number/CD#: XXXXXX0006
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX1424                                                                              Blanket Bond (per case limit): $32,583,498.00
For Period Ending: 05/13/2020                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                     Description of Transaction               Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                           ($)
   09/23/13           2027        Kobert Esquire, Roy S.                    Attorney Expenses                                     3220-000                                     $3,697.41          $125,420.89
                                  Broad and Cassel                          Pursuant to Motion for and
                                  Post Office Box 4961                      Notice of Proposed
                                  Orlando, Florida 32802-4961               Compromise of Controversy
                                                                            (Document Number 1313)
                                                                            (Exhibit A - Settlement
                                                                            Agreement) and Order
                                                                            Approving Compromise of
                                                                            Controversy dated 01/22/13
                                                                            (Document Number 1365)
   09/24/13           2028        NPerspective, LLC                         CPA Fees                                              3410-000                                     $2,079.75          $123,341.14
                                  William A. Long, C.P.A.                   Pursuant to Order Approving
                                  5971 Brick Court, Suite 100               Compromise of Controversy
                                  Winter Park, Florida 32792                dated 01/22/13 (Document
                                                                            Number 1365)
   10/24/13           2029        NPerspective, LLC                         CPA Fees                                              3410-000                                      $1,911.60         $121,429.54
                                  William A. Long, C.P.A.                   Pursuant to Order Approving
                                  5971 Brick Court, Suite 100               Compromise of Controversy
                                  Winter Park, Florida 32792                dated 01/22/13 (Document
                                                                            Number 1365)
   10/24/13           2030        Kobert Esquire, Roy S.                    Attorney Fees                                         3210-000                                     $8,969.50          $112,460.04
                                  Broad and Cassel                          Pursuant to Motion for and
                                  Post Office Box 4961                      Notice of Proposed
                                  Orlando, Florida 32802-4961               Compromise of Controversy
                                                                            (Document Number 1313)
                                                                            (Exhibit A - Settlement
                                                                            Agreement) and Order
                                                                            Approving Compromise of
                                                                            Controversy dated 01/22/13
                                                                            (Document Number 1365)
   10/24/13           2031        Kobert Esquire, Roy S.                    Attorney Expenses                                     3220-000                                      $1,414.11         $111,045.93
                                  Broad and Cassel                          Pursuant to Motion for and
                                  Post Office Box 4961                      Notice of Proposed
                                  Orlando, Florida 32802-4961               Compromise of Controversy
                                                                            (Document Number 1313)
                                                                            (Exhibit A - Settlement
                                                                            Agreement) and Order
                                                                            Approving Compromise of
                                                                            Controversy dated 01/22/13
                                                                            (Document Number 1365)



                                                                                   Page Subtotals:                                                             $0.00          $18,072.37
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 08-10162                                                                                             Trustee Name: Leigh R. Meininger                                         Exhibit 9
      Case Name: LLC. LR BUFFALO CREEK                                                                                     Bank Name: BOK Financial
                                                                                                                 Account Number/CD#: XXXXXX0006
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX1424                                                                              Blanket Bond (per case limit): $32,583,498.00
For Period Ending: 05/13/2020                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                   6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction               Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                           ($)
   11/18/13           2032        Gary J. McCabe, P. E.                     Invoice 410                                           3991-000                                     $4,350.00          $106,695.93
                                  Red Line Engineering, P.C.                Pursuant to Order Approving
                                  3305-109 Durham Drive                     Compromise of Controversy
                                  Raleigh, NC 27603                         dated 01/22/13 (Document
                                                                            Number 1365)
   11/18/13           2033        NPerspective, LLC                         CPA Fees                                              3410-000                                        $702.10         $105,993.83
                                  William A. Long, C.P.A.                   Pursuant to Order Approving
                                  5971 Brick Court, Suite 100               Compromise of Controversy
                                  Winter Park, Florida 32792                dated 01/22/13 (Document
                                                                            Number 1365)
   11/18/13           2034        NPerspective, LLC                         CPA Fees                                              3410-000                                        $412.50         $105,581.33
                                  William A. Long, C.P.A.                   Pursuant to Order Approving
                                  5971 Brick Court, Suite 100               Compromise of Controversy
                                  Winter Park, Florida 32792                dated 01/22/13 (Document
                                                                            Number 1365)
   11/18/13           2035        Kobert Esquire, Roy S.                    Attorney Fees                                         3210-000                                     $2,931.50          $102,649.83
                                  Broad and Cassel                          Pursuant to Motion for and
                                  Post Office Box 4961                      Notice of Proposed
                                  Orlando, Florida 32802-4961               Compromise of Controversy
                                                                            (Document Number 1313)
                                                                            (Exhibit A - Settlement
                                                                            Agreement) and Order
                                                                            Approving Compromise of
                                                                            Controversy dated 01/22/13
                                                                            (Document Number 1365)
   11/18/13           2036        Kobert Esquire, Roy S.                    Attorney Expenses                                     3220-000                                     $2,563.22          $100,086.61
                                  Broad and Cassel                          Pursuant to Motion for and
                                  Post Office Box 4961                      Notice of Proposed
                                  Orlando, Florida 32802-4961               Compromise of Controversy
                                                                            (Document Number 1313)
                                                                            (Exhibit A - Settlement
                                                                            Agreement) and Order
                                                                            Approving Compromise of
                                                                            Controversy dated 01/22/13
                                                                            (Document Number 1365)




                                                                                   Page Subtotals:                                                             $0.00          $10,959.32
        UST Form 101-7-TDR (10/1/2010) (Page: 34)
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                                                    Case 6:08-bk-10159-KSJ               DocFORM
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 08-10162                                                                                             Trustee Name: Leigh R. Meininger                                         Exhibit 9
      Case Name: LLC. LR BUFFALO CREEK                                                                                     Bank Name: BOK Financial
                                                                                                                 Account Number/CD#: XXXXXX0006
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX1424                                                                              Blanket Bond (per case limit): $32,583,498.00
For Period Ending: 05/13/2020                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                   6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction               Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                           ($)
   12/03/13           2037        Kobert Esquire, Roy S.                    Attorney Fees                                         3210-000                                    $15,468.50           $84,618.11
                                  Broad and Cassel                          Pursuant to Motion for and
                                  Post Office Box 4961                      Notice of Proposed
                                  Orlando, Florida 32802-4961               Compromise of Controversy
                                                                            (Document Number 1313)
                                                                            (Exhibit A - Settlement
                                                                            Agreement) and Order
                                                                            Approving Compromise of
                                                                            Controversy dated 01/22/13
                                                                            (Document Number 1365)
   12/03/13           2038        Kobert Esquire, Roy S.                    Attorney Expenses                                     3220-000                                     $1,778.56           $82,839.55
                                  Broad and Cassel                          Pursuant to Motion for and
                                  Post Office Box 4961                      Notice of Proposed
                                  Orlando, Florida 32802-4961               Compromise of Controversy
                                                                            (Document Number 1313)
                                                                            (Exhibit A - Settlement
                                                                            Agreement) and Order
                                                                            Approving Compromise of
                                                                            Controversy dated 01/22/13
                                                                            (Document Number 1365)
   12/19/13           2039        Gary J. McCabe, P. E.                     Invoice 410                                           3991-000                                     $3,282.50           $79,557.05
                                  Red Line Engineering, P.C.                Pursuant to Order Approving
                                  3305-109 Durham Drive                     Compromise of Controversy
                                  Raleigh, NC 27603                         dated 01/22/13 (Document
                                                                            Number 1365)
   12/30/13           2040        Kobert Esquire, Roy S.                    Attorney Expenses                                     3220-000                                        $213.13          $79,343.92
                                  Broad and Cassel                          Pursuant to Motion for and
                                  Post Office Box 4961                      Notice of Proposed
                                  Orlando, Florida 32802-4961               Compromise of Controversy
                                                                            (Document Number 1313)
                                                                            (Exhibit A - Settlement
                                                                            Agreement) and Order
                                                                            Approving Compromise of
                                                                            Controversy dated 01/22/13
                                                                            (Document Number 1365)




                                                                                   Page Subtotals:                                                             $0.00          $20,742.69
        UST Form 101-7-TDR (10/1/2010) (Page: 35)
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 08-10162                                                                                             Trustee Name: Leigh R. Meininger                                         Exhibit 9
      Case Name: LLC. LR BUFFALO CREEK                                                                                     Bank Name: BOK Financial
                                                                                                                 Account Number/CD#: XXXXXX0006
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX1424                                                                              Blanket Bond (per case limit): $32,583,498.00
For Period Ending: 05/13/2020                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                   6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction               Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                           ($)
   12/30/13           2041        Kobert Esquire, Roy S.                    Attorney Fees                                         3210-000                                    $20,568.50           $58,775.42
                                  Broad and Cassel                          Pursuant to Motion for and
                                  Post Office Box 4961                      Notice of Proposed
                                  Orlando, Florida 32802-4961               Compromise of Controversy
                                                                            (Document Number 1313)
                                                                            (Exhibit A - Settlement
                                                                            Agreement) and Order
                                                                            Approving Compromise of
                                                                            Controversy dated 01/22/13
                                                                            (Document Number 1365)
   01/27/14           2042        NPerspective, LLC                         CPA Expenses                                          3420-000                                        $661.15          $58,114.27
                                  William A. Long, C.P.A.                   Pursuant to Order Approving
                                  5971 Brick Court, Suite 100               Compromise of Controversy
                                  Winter Park, Florida 32792                dated 01/22/13 (Document
                                                                            Number 1365)
   01/27/14           2043        NPerspective, LLC                         CPA Fees                                              3410-000                                     $3,560.65           $54,553.62
                                  William A. Long, C.P.A.                   Pursuant to Order Approving
                                  5971 Brick Court, Suite 100               Compromise of Controversy
                                  Winter Park, Florida 32792                dated 01/22/13 (Document
                                                                            Number 1365)
   01/27/14           2044        Kobert Esquire, Roy S.                    Attorney Fees                                         3210-000                                     $7,684.00           $46,869.62
                                  Broad and Cassel                          Pursuant to Motion for and
                                  Post Office Box 4961                      Notice of Proposed
                                  Orlando, Florida 32802-4961               Compromise of Controversy
                                                                            (Document Number 1313)
                                                                            (Exhibit A - Settlement
                                                                            Agreement) and Order
                                                                            Approving Compromise of
                                                                            Controversy dated 01/22/13
                                                                            (Document Number 1365)
   01/27/14           2045        Kobert Esquire, Roy S.                    Attorney Expenses                                     3220-000                                         $99.18          $46,770.44
                                  Broad and Cassel                          Pursuant to Motion for and
                                  Post Office Box 4961                      Notice of Proposed
                                  Orlando, Florida 32802-4961               Compromise of Controversy
                                                                            (Document Number 1313)
                                                                            (Exhibit A - Settlement
                                                                            Agreement) and Order
                                                                            Approving Compromise of
                                                                            Controversy dated 01/22/13
                                                                            (Document Number 1365)



                                                                                   Page Subtotals:                                                             $0.00          $32,573.48
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 08-10162                                                                                             Trustee Name: Leigh R. Meininger                                         Exhibit 9
      Case Name: LLC. LR BUFFALO CREEK                                                                                     Bank Name: BOK Financial
                                                                                                                  Account Number/CD#: XXXXXX0006
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX1424                                                                              Blanket Bond (per case limit): $32,583,498.00
For Period Ending: 05/13/2020                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                  6                      7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)     Disbursements ($)     Account/CD Balance
                    Reference                                                                                                        Code                                                           ($)
   02/05/14           2046        Leigh R. Meininger                        Bond #016027985 Reversal                              2300-000                                       ($48.62)          $46,819.06
                                  Post Office Box 1946                      Void as issued to wrong
                                  Orlando, FL 32802-1946                    recipient
   02/05/14           2046        Leigh R. Meininger                        Bond #016027985                                       2300-000                                        $48.62           $46,770.44
                                  Post Office Box 1946
                                  Orlando, FL 32802-1946
   02/05/14           2047        International Sureties, Ltd               Bond #016027985                                       2300-000                                        $48.62           $46,721.82
                                  701 Poydras Street, Suite 420
                                  New Orleans, LA 70139
   02/18/14           2048        NPerspective, LLC                         CPA Fees                                              3410-000                                   $15,371.25            $31,350.57
                                  William A. Long, C.P.A.                   Pursuant to Order Approving
                                  5971 Brick Court, Suite 100               Compromise of Controversy
                                  Winter Park, Florida 32792                dated 01/22/13 (Document
                                                                            Number 1365)
   02/18/14           2049        NPerspective, LLC                         CPA Expenses                                          3420-000                                       $277.60           $31,072.97
                                  William A. Long, C.P.A.                   Pursuant to Order Approving
                                  5971 Brick Court, Suite 100               Compromise of Controversy
                                  Winter Park, Florida 32792                dated 01/22/13 (Document
                                                                            Number 1365)
   03/27/14           2050        Land Resource, LLC                        Deposit                                               1280-002                                         $0.01           $31,072.96
                                  Bankruptcy Case 08-10159

   04/08/14            13         Lexon Insurance Company                   Funds for Litigation                                  1249-000              $205,000.00                               $236,072.96

   04/14/14            13         Braver Schimler Pierce Jenkins, LLP       Pursuant to Court Order                               1241-000               $14,285.00                               $250,357.96
                                  6400 Powers Ferry Road, N.W.              Order Granting Motion for
                                  Atlanta, GA 30339                         Approval of Settlement and
                                                                            Compromise of Controversy
                                                                            Between the Trustee and
                                                                            Cherry Bekaert & Holland
                                                                            (Document Number 1427)
   04/14/14           2051        NPerspective, LLC                         CPA Fees                                              3410-000                                     $2,011.90          $248,346.06
                                  William A. Long, C.P.A.                   Pursuant to Order Approving
                                  5971 Brick Court, Suite 100               Compromise of Controversy
                                  Winter Park, Florida 32792                dated 01/22/13 (Document
                                                                            Number 1365)




                                                                                   Page Subtotals:                                                      $219,285.00          $17,709.38
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 08-10162                                                                                             Trustee Name: Leigh R. Meininger                                        Exhibit 9
      Case Name: LLC. LR BUFFALO CREEK                                                                                     Bank Name: BOK Financial
                                                                                                                 Account Number/CD#: XXXXXX0006
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX1424                                                                              Blanket Bond (per case limit): $32,583,498.00
For Period Ending: 05/13/2020                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                  6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction               Uniform Tran.       Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                          ($)
   04/14/14           2052        Gary J. McCabe, P. E.                     Invoice 410                                           3991-000                                    $2,400.00          $245,946.06
                                  Red Line Engineering, P.C.                Pursuant to Order Approving
                                  3305-109 Durham Drive                     Compromise of Controversy
                                  Raleigh, NC 27603                         dated 01/22/13 (Document
                                                                            Number 1365)
   04/14/14           2053        Gary J. McCabe, P. E.                     Invoice 410                                           3992-000                                       $493.87         $245,452.19
                                  Red Line Engineering, P.C.                Pursuant to Order Approving
                                  3305-109 Durham Drive                     Compromise of Controversy
                                  Raleigh, NC 27603                         dated 01/22/13 (Document
                                                                            Number 1365)
   04/18/14            13         Baker & Hostetler                         Wire Transfer                                         1241-000              $625,000.00                              $870,452.19

   04/28/14           2054        Broad & Cassel P.A.                       Attorney Fees                                         3210-000                                   $12,108.50          $858,343.69
                                  Attn: Nicolette Corso Vilmos              Pursuant to Motion for and
                                  Post Office Box 4961                      Notice of Proposed
                                  Orlando, Florida 32802-4961               Compromise of Controversy
                                                                            (Document Number 1313)
                                                                            (Exhibit A - Settlement
                                                                            Agreement) and Order
                                                                            Approving Compromise of
                                                                            Controversy dated 01/22/13
                                                                            (Document Number 1365)
   04/28/14           2055        Broad & Cassel P.A.                       Attorney Expenses                                     3220-000                                       $408.41         $857,935.28
                                  Attn: Nicolette Corso Vilmos              Pursuant to Motion for and
                                  Post Office Box 4961                      Notice of Proposed
                                  Orlando, Florida 32802-4961               Compromise of Controversy
                                                                            (Document Number 1313)
                                                                            (Exhibit A - Settlement
                                                                            Agreement) and Order
                                                                            Approving Compromise of
                                                                            Controversy dated 01/22/13
                                                                            (Document Number 1365)
   05/07/14            13         Carswell Lanting                          Settlement Agreement                                  1249-000              $484,928.00                            $1,342,863.28

   05/14/14           2056        Gary J. McCabe, P. E.                     Invoice 410                                           3991-000                                    $3,131.88        $1,339,731.40
                                  Red Line Engineering, P.C.                Pursuant to Order Approving
                                  3305-109 Durham Drive                     Compromise of Controversy
                                  Raleigh, NC 27603                         dated 01/22/13 (Document
                                                                            Number 1365)



                                                                                   Page Subtotals:                                                    $1,109,928.00          $18,542.66
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 08-10162                                                                                             Trustee Name: Leigh R. Meininger                                        Exhibit 9
      Case Name: LLC. LR BUFFALO CREEK                                                                                     Bank Name: BOK Financial
                                                                                                                 Account Number/CD#: XXXXXX0006
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX1424                                                                              Blanket Bond (per case limit): $32,583,498.00
For Period Ending: 05/13/2020                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                  6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction               Uniform Tran.       Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                          ($)
   05/14/14           2057        Gary J. McCabe, P. E.                     Invoice 441                                           3992-000                                        $36.24       $1,339,695.16
                                  Red Line Engineering, P.C.                Pursuant to Order Approving
                                  3305-109 Durham Drive                     Compromise of Controversy
                                  Raleigh, NC 27603                         dated 01/22/13 (Document
                                                                            Number 1365)
   05/27/14           2058        NPerspective, LLC                         Pursuant to Court Order                               3410-000                                   $22,234.15        $1,317,461.01
                                  William A. Long, C.P.A.                   Pursuant to Order Approving
                                  5971 Brick Court, Suite 100               Compromise of Controversy
                                  Winter Park, Florida 32792                dated 01/22/13 (Document
                                                                            Number 1365)
   05/27/14           2059        NPerspective, LLC                         Pursuant to Court Order                               3420-000                                        $99.68       $1,317,361.33
                                  William A. Long, C.P.A.                   Pursuant to Order Approving
                                  5971 Brick Court, Suite 100               Compromise of Controversy
                                  Winter Park, Florida 32792                dated 01/22/13 (Document
                                                                            Number 1365)
   06/02/14            13         Suzanne Dinur                             Settlement Agreement                                  1249-000               $90,000.00                            $1,407,361.33

   06/19/14           2060        Broad & Cassel P.A.                       Attorney Expenses                                     3220-000                                       $109.79       $1,407,251.54
                                  Attn: Nicolette Corso Vilmos              Pursuant to Motion for and
                                  Post Office Box 4961                      Notice of Proposed
                                  Orlando, Florida 32802-4961               Compromise of Controversy
                                                                            (Document Number 1313)
                                                                            (Exhibit A - Settlement
                                                                            Agreement) and Order
                                                                            Approving Compromise of
                                                                            Controversy dated 01/22/13
                                                                            (Document Number 1365)
   06/19/14           2061        Broad & Cassel P.A.                       Attorney Fees                                         3210-000                                   $22,611.00        $1,384,640.54
                                  Attn: Nicolette Corso Vilmos              Pursuant to Motion for and
                                  Post Office Box 4961                      Notice of Proposed
                                  Orlando, Florida 32802-4961               Compromise of Controversy
                                                                            (Document Number 1313)
                                                                            (Exhibit A - Settlement
                                                                            Agreement) and Order
                                                                            Approving Compromise of
                                                                            Controversy dated 01/22/13
                                                                            (Document Number 1365)




                                                                                   Page Subtotals:                                                       $90,000.00          $45,090.86
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 08-10162                                                                                              Trustee Name: Leigh R. Meininger                                         Exhibit 9
      Case Name: LLC. LR BUFFALO CREEK                                                                                      Bank Name: BOK Financial
                                                                                                                   Account Number/CD#: XXXXXX0006
                                                                                                                                            Checking Account
  Taxpayer ID No: XX-XXX1424                                                                               Blanket Bond (per case limit): $32,583,498.00
For Period Ending: 05/13/2020                                                                              Separate Bond (if applicable):


       1                2                             3                                               4                                                    5                   6                     7

Transaction Date    Check or                Paid To / Received From                       Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                           ($)
   06/24/14           2062        Gary J. McCabe, P. E.                     Invoice 449                                            3991-000                                     $7,062.50        $1,377,578.04
                                  Red Line Engineering, P.C.                Pursuant to Order Approving
                                  3305-109 Durham Drive                     Compromise of Controversy
                                  Raleigh, NC 27603                         dated 01/22/13 (Document
                                                                            Number 1365)
   06/24/14           2063        Gary J. McCabe, P. E.                     Invoice 449                                            3992-000                                     $1,518.55        $1,376,059.49
                                  Red Line Engineering, P.C.                Pursuant to Order Approving
                                  3305-109 Durham Drive                     Compromise of Controversy
                                  Raleigh, NC 27603                         dated 01/22/13 (Document
                                                                            Number 1365)
   06/24/14           2064        NPerspective, LLC                         Pursuant to Court Order                                3410-000                                    $10,892.00        $1,365,167.49
                                  William A. Long, C.P.A.                   Pursuant to Order Approving
                                  5971 Brick Court, Suite 100               Compromise of Controversy
                                  Winter Park, Florida 32792                dated 01/22/13 (Document
                                                                            Number 1365)
   06/24/14           2065        NPerspective, LLC                         Pursuant to Court Order                                3420-000                                        $252.28       $1,364,915.21
                                  William A. Long, C.P.A.                   Pursuant to Order Approving
                                  5971 Brick Court, Suite 100               Compromise of Controversy
                                  Winter Park, Florida 32792                dated 01/22/13 (Document
                                                                            Number 1365)
   07/31/14           2066        Gary J. McCabe, P. E.                     Invoice 462                                            3991-000                                     $1,350.00        $1,363,565.21
                                  Red Line Engineering, P.C.
                                  3305-109 Durham Drive
                                  Raleigh, NC 27603
   07/31/14           2067        Broad & Cassel P.A.                       Attorney Fees                                          3210-000                                    $19,780.50        $1,343,784.71
                                  Attn: Nicolette Corso Vilmos              Pursuant to Motion for and
                                  Post Office Box 4961                      Notice of Proposed
                                  Orlando, Florida 32802-4961               Compromise of Controversy
                                                                            (Document Number 1313)
                                                                            (Exhibit A - Settlement
                                                                            Agreement) and Order
                                                                            Approving Compromise of
                                                                            Controversy dated 01/22/13
                                                                            (Document Number 1365)




                                                                                   Page Subtotals:                                                              $0.00          $40,855.83
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 08-10162                                                                                             Trustee Name: Leigh R. Meininger                                         Exhibit 9
      Case Name: LLC. LR BUFFALO CREEK                                                                                     Bank Name: BOK Financial
                                                                                                                 Account Number/CD#: XXXXXX0006
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX1424                                                                              Blanket Bond (per case limit): $32,583,498.00
For Period Ending: 05/13/2020                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                     Description of Transaction               Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                           ($)
   07/31/14           2068        Broad & Cassel P.A.                       Attorney Expenses                                     3220-000                                        $407.35       $1,343,377.36
                                  Attn: Nicolette Corso Vilmos              Pursuant to Motion for and
                                  Post Office Box 4961                      Notice of Proposed
                                  Orlando, Florida 32802-4961               Compromise of Controversy
                                                                            (Document Number 1313)
                                                                            (Exhibit A - Settlement
                                                                            Agreement) and Order
                                                                            Approving Compromise of
                                                                            Controversy dated 01/22/13
                                                                            (Document Number 1365)
   08/20/14           2069        Broad & Cassel P.A.                       Attorney Fees                                         3210-000                                    $37,812.50        $1,305,564.86
                                  Attn: Nicolette Corso Vilmos              Pursuant to Motion for and
                                  Post Office Box 4961                      Notice of Proposed
                                  Orlando, Florida 32802-4961               Compromise of Controversy
                                                                            (Document Number 1313)
                                                                            (Exhibit A - Settlement
                                                                            Agreement) and Order
                                                                            Approving Compromise of
                                                                            Controversy dated 01/22/13
                                                                            (Document Number 1365)
   08/20/14           2070        Broad & Cassel P.A.                       Attorney Expenses                                     3220-000                                     $2,929.03        $1,302,635.83
                                  Attn: Nicolette Corso Vilmos              Pursuant to Motion for and
                                  Post Office Box 4961                      Notice of Proposed
                                  Orlando, Florida 32802-4961               Compromise of Controversy
                                                                            (Document Number 1313)
                                                                            (Exhibit A - Settlement
                                                                            Agreement) and Order
                                                                            Approving Compromise of
                                                                            Controversy dated 01/22/13
                                                                            (Document Number 1365)
   08/20/14           2071        NPerspective, LLC                         Pursuant to Court Order                               3410-000                                     $6,637.50        $1,295,998.33
                                  William A. Long, C.P.A.                   Pursuant to Order Approving
                                  5971 Brick Court, Suite 100               Compromise of Controversy
                                  Winter Park, Florida 32792                dated 01/22/13 (Document
                                                                            Number 1365)
   08/20/14           2072        NPerspective, LLC                         Pursuant to Court Order                               3420-000                                         $99.68       $1,295,898.65
                                  William A. Long, C.P.A.                   Pursuant to Order Approving
                                  5971 Brick Court, Suite 100               Compromise of Controversy
                                  Winter Park, Florida 32792                dated 01/22/13 (Document
                                                                            Number 1365)



                                                                                   Page Subtotals:                                                             $0.00          $47,886.06
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 08-10162                                                                                              Trustee Name: Leigh R. Meininger                                        Exhibit 9
      Case Name: LLC. LR BUFFALO CREEK                                                                                      Bank Name: BOK Financial
                                                                                                                   Account Number/CD#: XXXXXX0006
                                                                                                                                            Checking Account
  Taxpayer ID No: XX-XXX1424                                                                               Blanket Bond (per case limit): $32,583,498.00
For Period Ending: 05/13/2020                                                                              Separate Bond (if applicable):


       1                2                             3                                               4                                                    5                   6                    7

Transaction Date    Check or                Paid To / Received From                       Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)   Account/CD Balance
                    Reference                                                                                                         Code                                                          ($)
   09/16/14           2073        Broad & Cassel P.A.                       Attorney Fees                                          3210-000                                    $37,750.50       $1,258,148.15
                                  Attn: Nicolette Corso Vilmos              Pursuant to Motion for and
                                  Post Office Box 4961                      Notice of Proposed
                                  Orlando, Florida 32802-4961               Compromise of Controversy
                                                                            (Document Number 1313)
                                                                            (Exhibit A - Settlement
                                                                            Agreement) and Order
                                                                            Approving Compromise of
                                                                            Controversy dated 01/22/13
                                                                            (Document Number 1365)
   09/16/14           2074        Broad & Cassel P.A.                       Attorney Expenses                                      3220-000                                     $1,007.73       $1,257,140.42
                                  Attn: Nicolette Corso Vilmos              Pursuant to Motion for and
                                  Post Office Box 4961                      Notice of Proposed
                                  Orlando, Florida 32802-4961               Compromise of Controversy
                                                                            (Document Number 1313)
                                                                            (Exhibit A - Settlement
                                                                            Agreement) and Order
                                                                            Approving Compromise of
                                                                            Controversy dated 01/22/13
                                                                            (Document Number 1365)
   09/24/14           2075        NPerspective, LLC                         Invoice 252                                            3410-000                                     $4,071.00       $1,253,069.42
                                  William A. Long, C.P.A.
                                  5971 Brick Court, Suite 100
                                  Winter Park, Florida 32792
   11/11/14           2076        Servient,                                 Invoice 203400                                         2420-000                                     $9,148.66       $1,243,920.76
                                  15915 Katy Freeway, Suite 200             Pursuant to Order Granting
                                  Houston, TX 77094-1708                    Motion for Approval to
                                                                            Terminate Access to Debtors'
                                                                            Business Records Hosted by a
                                                                            Third Party Vendor dated
                                                                            05/07/12 (Document Number
                                                                            1217)




                                                                                   Page Subtotals:                                                              $0.00          $51,977.89
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                                                    Case 6:08-bk-10159-KSJ               DocFORM
                                                                                             18052 Filed 08/24/20                     Page 43 of 62
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 08-10162                                                                                            Trustee Name: Leigh R. Meininger                                        Exhibit 9
      Case Name: LLC. LR BUFFALO CREEK                                                                                    Bank Name: BOK Financial
                                                                                                                 Account Number/CD#: XXXXXX0006
                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXX1424                                                                             Blanket Bond (per case limit): $32,583,498.00
For Period Ending: 05/13/2020                                                                            Separate Bond (if applicable):


       1                2                              3                                             4                                                   5                  6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                          ($)
   01/06/15           2077        Mountain, Iron                            Invoice LAU6788                                      2420-000                                    $1,097.61        $1,242,823.15
                                  Post Office Box 915004                    Pursuant to Final Order
                                  Dallas, TX 75391-5004                     Authorizing Post-Petition
                                                                            Secured Superpriority
                                                                            Financing; Authorizing D'ors
                                                                            Use of Cash Collateral;
                                                                            Granting Adequate Protection
                                                                            and Modifying the Automatic
                                                                            Stay entered 12/22/08
                                                                            (Document Number 174)
   01/07/15            13         Alston & Bird, LLP                        Pursuant to Court Order                              1249-000            $1,100,000.00                            $2,342,823.15
                                                                            dated 12/17/14 (Document
                                                                            Number 1444)
   01/08/15           2078        Lexon Surety Group                        Pursuant to Court Order                              8500-002                                  $750,000.00        $1,592,823.15
                                  Attn: Greg Lauer                          /dated 12 (Document Number
                                  10002 Shelbyville Road, Suite 100         1444)
                                  Louisville, KY 40223
   02/03/15           2079        International Sureties, Ltd               Bond #016027985                                      2300-000                                    $1,314.09        $1,591,509.06
                                  701 Poydras Street, Suite 420
                                  New Orleans, LA 70139
   02/11/15           2080        Mountain, Iron                            Invoice LAU6788                                      2420-000                                       $561.27       $1,590,947.79
                                  Post Office Box 915004                    Pursuant to Final Order
                                  Dallas, TX 75391-5004                     Authorizing Post-Petition
                                                                            Secured Superpriority
                                                                            Financing; Authorizing D'ors
                                                                            Use of Cash Collateral;
                                                                            Granting Adequate Protection
                                                                            and Modifying the Automatic
                                                                            Stay entered 12/22/08
                                                                            (Document Number 174)
   03/12/15           2081        Mountain, Iron                            Invoice LEU5159                                      2420-000                                       $561.27       $1,590,386.52
                                  Post Office Box 915004                    Pursuant to Final Order
                                  Dallas, TX 75391-5004                     Authorizing Post-Petition
                                                                            Secured Superpriority
                                                                            Financing; Authorizing D'ors
                                                                            Use of Cash Collateral;
                                                                            Granting Adequate Protection
                                                                            and Modifying the Automatic
                                                                            Stay entered 12/22/08
                                                                            (Document Number 174)


                                                                                   Page Subtotals:                                                   $1,100,000.00         $753,534.24
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 08-10162                                                                                            Trustee Name: Leigh R. Meininger                                           Exhibit 9
      Case Name: LLC. LR BUFFALO CREEK                                                                                    Bank Name: BOK Financial
                                                                                                                 Account Number/CD#: XXXXXX0006
                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXX1424                                                                             Blanket Bond (per case limit): $32,583,498.00
For Period Ending: 05/13/2020                                                                            Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)      Account/CD Balance
                    Reference                                                                                                       Code                                                             ($)
   03/27/15                       Ltd. International Sureties               Refund of Surety Bond                                2300-000                                        ($500.31)       $1,590,886.83
                                  701 Poydras Street, Suite 420
                                  New Orleans, LA 70139
   04/13/15           2082        Mountain, Iron                            Invoice LGN3845 Reversal                             2420-000                                        ($561.27)       $1,591,448.10
                                  Post Office Box 915004                    Pursuant to Final Order
                                  Dallas, TX 75391-5004                     Authorizing Post-Petition
                                                                            Secured Superpriority
                                                                            Financing; Authorizing D'ors
                                                                            Use of Cash Collateral;
                                                                            Granting Adequate Protection
                                                                            and Modifying the Automatic
                                                                            Stay entered 12/22/08
                                                                            (Document Number 174)
   04/13/15           2082        Mountain, Iron                            Invoice LGN3845                                      2420-000                                         $561.27        $1,590,886.83
                                  Post Office Box 915004                    Pursuant to Final Order
                                  Dallas, TX 75391-5004                     Authorizing Post-Petition
                                                                            Secured Superpriority
                                                                            Financing; Authorizing D'ors
                                                                            Use of Cash Collateral;
                                                                            Granting Adequate Protection
                                                                            and Modifying the Automatic
                                                                            Stay entered 12/22/08
                                                                            (Document Number 174)
   04/13/15           2083        Mountain, Iron                            Invoice LGN3845                                      2420-000                                         $566.66        $1,590,320.17
                                  Post Office Box 915004                    Pursuant to Final Order
                                  Dallas, TX 75391-5004                     Authorizing Post-Petition
                                                                            Secured Superpriority
                                                                            Financing; Authorizing D'ors
                                                                            Use of Cash Collateral;
                                                                            Granting Adequate Protection
                                                                            and Modifying the Automatic
                                                                            Stay entered 12/22/08
                                                                            (Document Number 174)




                                                                                   Page Subtotals:                                                            $0.00                $66.35
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 08-10162                                                                                             Trustee Name: Leigh R. Meininger                                       Exhibit 9
      Case Name: LLC. LR BUFFALO CREEK                                                                                     Bank Name: BOK Financial
                                                                                                                 Account Number/CD#: XXXXXX0006
                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXX1424                                                                               Blanket Bond (per case limit): $32,583,498.00
For Period Ending: 05/13/2020                                                                            Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                     Description of Transaction               Uniform Tran.      Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                         ($)
   05/07/15           2084        Mountain, Iron                            Invoice LGN3845                                       2420-000                                      $566.66       $1,589,753.51
                                  Post Office Box 915004                    Pursuant to Final Order
                                  Dallas, TX 75391-5004                     Authorizing Post-Petition
                                                                            Secured Superpriority
                                                                            Financing; Authorizing D'ors
                                                                            Use of Cash Collateral;
                                                                            Granting Adequate Protection
                                                                            and Modifying the Automatic
                                                                            Stay entered 12/22/08
                                                                            (Document Number 174)
   06/09/15           2085        Mountain, Iron                            Invoice LLV0397                                       2420-000                                      $566.66       $1,589,186.85
                                  Post Office Box 915004                    Pursuant to Final Order
                                  Dallas, TX 75391-5004                     Authorizing Post-Petition
                                                                            Secured Superpriority
                                                                            Financing; Authorizing D'ors
                                                                            Use of Cash Collateral;
                                                                            Granting Adequate Protection
                                                                            and Modifying the Automatic
                                                                            Stay entered 12/22/08
                                                                            (Document Number 174)
   07/15/15           2086        Mountain, Iron                            Invoice LPF1282                                       2420-000                                      $566.66       $1,588,620.19
                                  Post Office Box 915004                    Pursuant to Final Order
                                  Dallas, TX 75391-5004                     Authorizing Post-Petition
                                                                            Secured Superpriority
                                                                            Financing; Authorizing D'ors
                                                                            Use of Cash Collateral;
                                                                            Granting Adequate Protection
                                                                            and Modifying the Automatic
                                                                            Stay entered 12/22/08
                                                                            (Document Number 174)
   08/12/15            13         Broad and Cassell                         Settlement with Ward Parties                          1241-000             $110,000.00                            $1,698,620.19
                                                                            (Payment 1)
                                                                            Pursuant to Court Order
                                                                            Approving Compromise of
                                                                            Controversy dated 01/22/13
                                                                            (Document Number 1365)




                                                                                   Page Subtotals:                                                     $110,000.00           $1,699.98
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 08-10162                                                                                             Trustee Name: Leigh R. Meininger                                       Exhibit 9
      Case Name: LLC. LR BUFFALO CREEK                                                                                     Bank Name: BOK Financial
                                                                                                                 Account Number/CD#: XXXXXX0006
                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXX1424                                                                               Blanket Bond (per case limit): $32,583,498.00
For Period Ending: 05/13/2020                                                                            Separate Bond (if applicable):


       1                2                             3                                              4                                                     5                6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction               Uniform Tran.      Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                         ($)
   01/05/16            13         Broad and Cassell                         Settlement with Ward Parties                          1241-000              $35,000.00                            $1,733,620.19
                                                                            (Payment 2)
                                                                            Pursuant to Court Order
                                                                            Approving Compromise of
                                                                            Controversy dated 01/22/13
                                                                            (Document Number 1365)
   01/19/16           2087        Mountain, Iron                            InvoiceMDJ5345                                        2420-000                                      $566.66       $1,733,053.53
                                  Post Office Box 915004                    Pursuant to Final Order
                                  Dallas, TX 75391-5004                     Authorizing Post-Petition
                                                                            Secured Superpriority
                                                                            Financing; Authorizing D'ors
                                                                            Use of Cash Collateral;
                                                                            Granting Adequate Protection
                                                                            and Modifying the Automatic
                                                                            Stay entered 12/22/08
                                                                            (Document Number 174)
   02/09/16           2088        International Sureties, Ltd               Bond 016027985                                        2300-000                                      $754.66       $1,732,298.87
                                  701 Poydras Street, Suite 420
                                  New Orleans, LA 70139
   02/09/16           2089        Mountain, Iron                            Invoice MFK9066                                       2420-000                                      $566.66       $1,731,732.21
                                  Post Office Box 915004                    Pursuant to Final Order
                                  Dallas, TX 75391-5004                     Authorizing Post-Petition
                                                                            Secured Superpriority
                                                                            Financing; Authorizing D'ors
                                                                            Use of Cash Collateral;
                                                                            Granting Adequate Protection
                                                                            and Modifying the Automatic
                                                                            Stay entered 12/22/08
                                                                            (Document Number 174)
   04/05/16           2090        Mountain, Iron                            Pursuant to Court Order                               2420-000                                   $8,312.01        $1,723,420.20
                                  Post Office Box 915004                    dated March 28, 2016
                                  Dallas, TX 75391-5004                     (Document Number 1496.
                                                                            Also pursuant to Final Order
                                                                            Authorizing Post-Petition
                                                                            Secured Superpriority
                                                                            Financing; Authorizing D'ors
                                                                            Use of Cash Collateral;
                                                                            Granting Adequate Protection
                                                                            and Modifying the Automatic
                                                                            Stay entered 12/22/08
                                                                            (Document Number 174)

                                                                                   Page Subtotals:                                                      $35,000.00          $10,199.99
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 08-10162                                                                                             Trustee Name: Leigh R. Meininger                                           Exhibit 9
      Case Name: LLC. LR BUFFALO CREEK                                                                                     Bank Name: BOK Financial
                                                                                                                 Account Number/CD#: XXXXXX0006
                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXX1424                                                                               Blanket Bond (per case limit): $32,583,498.00
For Period Ending: 05/13/2020                                                                            Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                     Description of Transaction               Uniform Tran.      Deposits ($)         Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                             ($)
   04/06/16            15         LRC Holdings, LLC                         Refund of advertising expenses                        1290-000                     $956.48                            $1,724,376.68

   04/06/16            15         Land Resource Group of North Carolina,    Refund of advertising expenses                        1290-000                     $283.40                            $1,724,660.08
                                  LLC

   04/06/16            15         Land Resource Orchards, LLC               Refund of advertising expenses                        1290-000                 $6,022.29                              $1,730,682.37

   07/19/16            13         Baker & Hostetler, LLP                    Settlement Proceeds                                   1249-000              $35,000.00                                $1,765,682.37

   07/19/16            13         Baker & Hostetler                         Wire Transfer                                         1241-000              $35,000.00                                $1,800,682.37

   07/19/16                       Baker & Hostetler                         Wire Transfer Reversal                                1241-000            ($35,000.00)                                $1,765,682.37
                                                                            Should have been made as a
                                                                            deposit
   11/23/16           2091        Broad & Cassel P.A.                       Attorney Fees                                         3210-000                                     $143,743.54        $1,621,938.83
                                  Attn: Nicolette Corso Vilmos              Pursuant to Court Order #1328
                                  Post Office Box 4961                      dated 11/14/12
                                  Orlando, Florida 32802-4961
   12/20/16            13         Broad and Cassell                         Settlement with Ward Parties                          1241-000              $30,000.00                                $1,651,938.83
                                                                            (Payment 2)
                                                                            Pursuant to Court Order
                                                                            Approving Compromise of
                                                                            Controversy dated 01/22/13
                                                                            (Document Number 1365)
   12/20/16           2092        Broad & Cassel P.A.                       Attorney Fees                                         3210-000                                     $283,724.87        $1,368,213.96
                                  Attn: Nicolette Corso Vilmos              Pursuant to Court Order #561
                                  Post Office Box 4961                      dated 12/13/16
                                  Orlando, Florida 32802-4961
   02/15/17           2093        International Sureties, Ltd               Bond #016027985                                       2300-000                                          $543.72       $1,367,670.24
                                  701 Poydras Street, Suite 420
                                  New Orleans, LA 70139
   04/03/17            13         Harmony Investment Services, LLC          Settlement with Ward Parties                          1241-000              $90,000.00                                $1,457,670.24
                                                                            Pursuant to Court Order
                                                                            Approving Compromise of
                                                                            Controversy dated 01/22/13
                                                                            (Document Number 1365)




                                                                                   Page Subtotals:                                                     $162,262.17             $428,012.13
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 08-10162                                                                                               Trustee Name: Leigh R. Meininger                                        Exhibit 9
      Case Name: LLC. LR BUFFALO CREEK                                                                                        Bank Name: BOK Financial
                                                                                                                  Account Number/CD#: XXXXXX0006
                                                                                                                                            Checking Account
  Taxpayer ID No: XX-XXX1424                                                                              Blanket Bond (per case limit): $32,583,498.00
For Period Ending: 05/13/2020                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                     5                   6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction                 Uniform Tran.     Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                           Code                                                         ($)
   07/01/17           2094        Latham Shuker Eden &, LLP                 Pursuant to Court Order Dated                            3991-000                                   $1,878.33        $1,455,791.91
                                  Attn: R. Scott Shuker, Esquire            02/16/17
                                  111 North Magnolia Avenue, Suite 1400     Order Directing Mediation,
                                  Orlando< Florida 32801                    Document Number 1581
   07/27/17           2095        Rutherford County                         Pursuant to Court Order                                  4110-000                                 $740,000.00          $715,791.91
                                  Attention: Paula Roach - Finance Director dated 07/10/17 - Document
                                  289 North Main STreet                     Number 1617
                                  Rutherfordton, NC 28139
   09/18/17           2096        Key Bank                                  Pursuant to Court Order                                  7100-000                                  $60,000.00          $655,791.91
                                  c/o Andrew M. Brumby, ESquire             Order Granting Joint MOtion for
                                  Shutss & Bowen, LLP                       Order Pursuant to Fed. R.
                                  300 South Orange Avenue, Suite 1000       Bankr. P. 9019 Approving the
                                  Orlando, FL 32801                         Settlement Between the
                                                                            Trustee and Key Bank
                                                                            (Document Number 1652)
   01/19/18                       Carolina f/k/a The Conservancy            Pursuant to Motion for Entry of                                                     $0.00                              $655,791.91
                                                                            Order Authlrizing and
                                                                            Approving
                                                                            the Sale of 251 Lots filed
                                                                            (12/22/17 (Document Number
                                                                            1706)
                                                                            Gross Receipts                            $504,000.00

                                  Rutherford Tax Collector                                                        ($504,000.00)      4110-000

                       17                                                   252 Lots                                  $504,000.00    1110-000

   02/08/18            16         Broad and Cassel, P.A.                    Pursuant to Document Number                              1110-000             $15,000.00                               $670,791.91
                                                                            1700
   02/28/18           2097        International Sureties, Ltd               Bond #016027985                                          2300-000                                      $213.17         $670,578.74
                                  701 Poydras Street, Suite 420
                                  New Orleans, LA 70139
   03/05/18           2098        Broad & Cassel P.A.                       Pursuant to Court Order                                  3210-000                                 $200,000.00          $470,578.74
                                  Attn: Nicolette Corso Vilmos              Document Number 1757
                                  Post Office Box 4961
                                  Orlando, Florida 32802-4961




                                                                                   Page Subtotals:                                                        $15,000.00        $1,002,091.50
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 08-10162                                                                                              Trustee Name: Leigh R. Meininger                                         Exhibit 9
      Case Name: LLC. LR BUFFALO CREEK                                                                                      Bank Name: BOK Financial
                                                                                                                   Account Number/CD#: XXXXXX0006
                                                                                                                                            Checking Account
  Taxpayer ID No: XX-XXX1424                                                                               Blanket Bond (per case limit): $32,583,498.00
For Period Ending: 05/13/2020                                                                              Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                       Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                           ($)
   03/05/18           2099        Broad & Cassel P.A.                       Pursuant to Court Order                                3220-000                                    $16,314.98          $454,263.76
                                  Attn: Nicolette Corso Vilmos              Document Number 1757
                                  Post Office Box 4961
                                  Orlando, Florida 32802-4961
   03/05/18           2100        Meininger, John Henry                     Pursuant to Court Order                                3110-000                                    $16,095.00          $438,168.76
                                  Meininger & Meininger, P.A.               Document Number 1757
                                  Post Office Box 1946
                                  Orlando, FL 32802-1946
   03/05/18           2101        Meininger, John Henry                     Pursuant to Court Order                                3120-000                                        $140.66         $438,028.10
                                  Meininger & Meininger, P.A.               Document Number 1757
                                  Post Office Box 1946
                                  Orlando, FL 32802-1946
   03/05/18           2102        Emerson C. Noble, C. P. A.                Pursuant to Court Order                                3410-000                                     $3,885.50          $434,142.60
                                  2572 West State Road 426                  Document Number 1757
                                  Suite 3016
                                  Oviedo, FL 32765

   03/05/18           2103        Emerson C. Noble, C. P. A.                Pursuant to Court Order                                3420-000                                         $11.70         $434,130.90
                                  2572 West State Road 426                  Document Number 1757
                                  Suite 3016
                                  Oviedo, FL 32765

   03/05/18           2104        Meininger, Leigh R.                       Pursuant to Court Order                                2100-000                                   $223,229.25          $210,901.65
                                  POST OFFICE BOX 1946                      Document Number 1757
                                  ORLANDO, FL 32802-1946

                                  ,
   03/05/18           2105        Meininger, Leigh R.                       Pursuant to Court Order                                2200-000                                        $317.96         $210,583.69
                                  POST OFFICE BOX 1946                      Document Number 1757
                                  ORLANDO, FL 32802-1946

                                  ,
   08/16/18           2106        Clerk of the Court                        Final distribution representing a                      2700-000                                        $500.00         $210,083.69
                                  United States Bankruptcy Court            payment of 100.00 % per court
                                  400 West Washington Street, Suite 5100    order.
                                  Orlando, Florida 32801




                                                                                   Page Subtotals:                                                              $0.00         $260,495.05
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 08-10162                                                                                                 Trustee Name: Leigh R. Meininger                                      Exhibit 9
      Case Name: LLC. LR BUFFALO CREEK                                                                                         Bank Name: BOK Financial
                                                                                                                      Account Number/CD#: XXXXXX0006
                                                                                                                                            Checking Account
  Taxpayer ID No: XX-XXX1424                                                                               Blanket Bond (per case limit): $32,583,498.00
For Period Ending: 05/13/2020                                                                              Separate Bond (if applicable):


       1                2                             3                                               4                                                    5                   6                     7

Transaction Date    Check or                Paid To / Received From                       Description of Transaction                Uniform Tran.     Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                           Code                                                         ($)
   08/16/18           2107        Beachview Tent Rentals                    Final distribution to claim 1                             7100-000                                     $278.96         $209,804.73
                                  C/O C. James Mccallar, Jr.                representing a payment of 0.37
                                  Attorney For Beachview Tent Rentals       % per court order.
                                  P.O. Box 9026
                                  Savannah, Ga 31412
   08/16/18           2108        Rutherford County                         Final distribution to claim 4                             7100-000                                 $54,240.80          $155,563.93
                                  Attn: William L. Esser Iv                 representing a payment of 0.37
                                  Parker Poe Adams & Bernstein Llp          % per court order.
                                  401 South Tryon Street, Suite 3000
                                  Charlotte, Nc 28202
   08/16/18           2109        Asst Attorney General Sueanna P           Final distribution to claim 7                             7100-000                                     $104.44         $155,459.49
                                  Supmter                                   representing a payment of 0.37
                                  Sueanna P Supmter, Asst Attorney          % per court order.
                                  General
                                  Nc Dept Of Justice
                                  42 N French Broad Ave
                                  Asheville Nc 28801
   08/16/18           2110        Bond Safeguard Insurance Co.              Final distribution representing a                         7100-000                                $155,459.49                 $0.00
                                  c/o Harris Beach, PLLC                    payment of 0.37 % per court
                                  Attn: Kelly C. Griffith, Esquire          order.
                                  One Park Place
                                  2000 South Street Street, 4th Floor
                                  Syracuse, NY 13202


                                                                                                                COLUMN TOTALS                          $3,514,558.82        $3,514,558.82
                                                                                                                      Less: Bank Transfers/CD's          $128,083.66                 $0.00
                                                                                                                Subtotal                               $3,386,475.16        $3,514,558.82
                                                                                                                      Less: Payments to Debtors                 $0.00                $0.00
                                                                                                                Net                                    $3,386,475.16        $3,514,558.82




                                                                                   Page Subtotals:                                                              $0.00         $210,083.69
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                                                    Case 6:08-bk-10159-KSJ                 DocFORM
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 08-10162                                                                                             Trustee Name: Leigh R. Meininger                                            Exhibit 9
      Case Name: LLC. LR BUFFALO CREEK                                                                                     Bank Name: Bank of America
                                                                                                                  Account Number/CD#: XXXXXX7450
                                                                                                                                           Money Market Account (Interest Earn
  Taxpayer ID No: XX-XXX1424                                                                              Blanket Bond (per case limit): $32,583,498.00
For Period Ending: 05/13/2020                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                      6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)       Account/CD Balance
                    Reference                                                                                                        Code                                                              ($)
   04/02/09                       Berger Singerman, PA                      Deposit                                               1280-000              $150,000.01                                  $150,000.01

   04/28/09           1001        HRH of Oregon                             Insurance Coverage                                    2420-000                                       $1,456.80           $148,543.21
                                                                            386 Ocean Boulevard, West
                                                                            Holden Beach, NC 28462
                                                                            LR Riversea, LLC
   04/28/09           1002        HRH of Oregon                             Insurance Coverage                                    2420-000                                           $966.90         $147,576.31
                                                                             4259 Chimney Rock Road,
                                                                            Edneyville, NC 28792
                                                                            Land Resource Orchards, LLC
   04/30/09             1         Bank of America, N.A.                     Interest Rate 0.050                                   1270-000                     $5.12                                 $147,581.43

   05/18/09           1003        Kenneth Brady                             Guard Services                                        2690-000                                           $540.00         $147,041.43
                                  535 North Highland RoadMill Spring, NC
                                  28756
   05/18/09           1004        Kenneth Brady                             Guard Services                                        2690-000                                           $108.00         $146,933.43
                                  535 North Highland RoadMill Spring, NC
                                  28756
   05/18/09           1005        Kenneth Brady                             Guard Services                                        2690-000                                           $540.00         $146,393.43
                                  535 North Highland RoadMill Spring, NC
                                  28756
   05/29/09             1         Bank of America, N.A.                     Interest Rate 0.050                                   1270-000                     $6.26                                 $146,399.69

   06/02/09           1006        Kenneth Brady                             Guard Services                                        2690-000                                           $540.00         $145,859.69
                                  535 North Highland RoadMill Spring, NC
                                  28756
   06/09/09                       Broad and Cassel, PA                      Sale of Real Property                                                        $10,000.00                                  $155,859.69

                                                                            Gross Receipts                       $1,172,500.00

                        2                                                   Real Property - HGTV                 $1,172,500.00    1110-000
                                                                            &quot;Dream Home&quot; and
                                                                            im
                                  KeyBank                                   Security Interest                  ($1,162,500.00)    4110-000




                                                                                   Page Subtotals:                                                      $160,011.39              $4,151.70
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 08-10162                                                                                               Trustee Name: Leigh R. Meininger                                            Exhibit 9
      Case Name: LLC. LR BUFFALO CREEK                                                                                       Bank Name: Bank of America
                                                                                                                   Account Number/CD#: XXXXXX7450
                                                                                                                                             Money Market Account (Interest Earn
  Taxpayer ID No: XX-XXX1424                                                                                Blanket Bond (per case limit): $32,583,498.00
For Period Ending: 05/13/2020                                                                               Separate Bond (if applicable):


       1                2                             3                                                 4                                                   5                      6                     7

Transaction Date    Check or                Paid To / Received From                       Description of Transaction               Uniform Tran.       Deposits ($)      Disbursements ($)       Account/CD Balance
                    Reference                                                                                                          Code                                                              ($)
   06/09/09           1007        Willis of Oregon, Inc.                    Policy Number                                           2690-000                                       $1,089.00           $154,770.69
                                  File 50781Los Angeles, CA 90074-0781      NA000553T00215
                                                                            Installment 2
   06/09/09           1008        Kenneth Brady                             Guard Services                                          2690-000                                           $540.00         $154,230.69
                                  535 North Highland RoadMill Spring, NC
                                  28756
   06/11/09           1009        Kenneth Brady                             Guard Services                                          2690-000                                           $540.00         $153,690.69
                                  535 North Highland RoadMill Spring, NC
                                  28756
   06/22/09           1010        Kenneth Brady                             Guard Services                                          2690-000                                           $540.00         $153,150.69
                                  535 North Highland RoadMill Spring, NC
                                  28756
   06/30/09             1         Bank of America, N.A.                     Interest Rate 0.050                                     1270-000                     $6.21                                 $153,156.90

   06/30/09           1011        Kenneth Brady                             Guard Services                                          2690-000                                           $540.00         $152,616.90
                                  535 North Highland RoadMill Spring, NC
                                  28756
   07/06/09           1012        Kenneth Brady                             Guard Services                                          2690-000                                           $540.00         $152,076.90
                                  535 North Highland RoadMill Spring, NC
                                  28756
   07/08/09           1013        Kenneth Brady                             Guard Services                                          2690-000                                           $540.00         $151,536.90
                                  535 North Highland RoadMill Spring, NC
                                  28756
   07/14/09             2         Broad and Cassell                         ale            $1,200,000.00                            1110-000               $27,500.00                                  $179,036.90
                                                                            Secured Creditor
                                                                            $1,1625,00.00
                                                                            Gross to Estate $
                                                                            37,500.00

                                                                            (Initial Deposit received
                                                                            06/09/09)
   07/20/09           1014        Kenneth Brady                             Guard Services                                          2690-000                                           $540.00         $178,496.90
                                  535 North Highland RoadMill Spring, NC
                                  28756
   07/31/09             1         Bank of America, N.A.                     Interest Rate 0.050                                     1270-000                     $7.04                                 $178,503.94

   08/31/09             1         Bank of America, N.A.                     Interest Rate 0.050                                     1270-000                     $7.58                                 $178,511.52


                                                                                    Page Subtotals:                                                        $27,520.83              $4,869.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 08-10162                                                                                             Trustee Name: Leigh R. Meininger                                              Exhibit 9
      Case Name: LLC. LR BUFFALO CREEK                                                                                     Bank Name: Bank of America
                                                                                                                  Account Number/CD#: XXXXXX7450
                                                                                                                                           Money Market Account (Interest Earn
  Taxpayer ID No: XX-XXX1424                                                                              Blanket Bond (per case limit): $32,583,498.00
For Period Ending: 05/13/2020                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                      6                       7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)         Account/CD Balance
                    Reference                                                                                                        Code                                                                ($)
   09/21/09           1015        HRH of Oregon                             Insurance Coverage                                    2420-004                                            $588.00          $177,923.52
                                                                             4259 Chimney Rock Road,
                                                                            Edneyville, NC 28792
                                                                            Land Resource Orchards, LLC
   09/30/09             1         Bank of America, N.A.                     Interest Rate 0.050                                   1270-000                     $7.34                                   $177,930.86

   10/30/09             1         Bank of America, N.A.                     Interest Rate 0.050                                   1270-000                     $7.58                                   $177,938.44

   11/30/09             1         Bank of America, N.A.                     Interest Rate 0.050                                   1270-000                     $7.34                                   $177,945.78

   12/01/09                       LR Bufffalo Creek, LLC                    Transfer to Land Resource,                            1290-000              $150,000.00                                    $327,945.78
                                                                            LLC
   12/01/09                       LR Bufffalo Creek, LLC                    Transfer to Land Resource,                            1290-000             ($150,000.00)                                   $177,945.78
                                                                            LLC
   12/01/09           1040        LR Buffalo Creeek, LLC                    Transfer to Land Resource,                            1290-000             ($150,000.00)                                    $27,945.78
                                                                            LLC
                                                                            Funds determined to belong to
                                                                            Land Resource, LLC, 08-10159
                                                                             as that is parent company and
                                                                            these funds are to be used
                                                                            towards tax returns applying to
                                                                            all entities. Request made to
                                                                            Bank of America by e mail to
                                                                            transfer to that Land Resource,
                                                                            LLC, Case 08-10159 (Account
                                                                            Number ending in 5549).
                                                                            There was no check ever
                                                                            produced. Transfer type of
                                                                            "Transfer by Check" does not
                                                                            actually produce a check.

   12/02/09           1015        Reverses Check # 1015                     Stop Payment Reversal                                 2420-004                                           ($588.00)          $28,533.78
                                                                            STOP PAY ADD SUCCESSFUL
   12/21/09                       Sale of Conservancy                       Wire Transfer for Sale of Land                                            $2,207,180.55                                  $2,235,714.33

                                                                            Gross Receipts                       $2,291,534.67

                        3                                                   323 lots of real property,           $2,291,534.67    1110-000
                                                                            improvements, amenities

                                                                                   Page Subtotals:                                                    $2,057,202.81                     $0.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 08-10162                                                                                               Trustee Name: Leigh R. Meininger                                          Exhibit 9
      Case Name: LLC. LR BUFFALO CREEK                                                                                       Bank Name: Bank of America
                                                                                                                 Account Number/CD#: XXXXXX7450
                                                                                                                                            Money Market Account (Interest Earn
  Taxpayer ID No: XX-XXX1424                                                                              Blanket Bond (per case limit): $32,583,498.00
For Period Ending: 05/13/2020                                                                             Separate Bond (if applicable):


       1                2                             3                                               4                                                    5                      6                    7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction                  Uniform Tran.     Deposits ($)       Disbursements ($)     Account/CD Balance
                    Reference                                                                                                           Code                                                           ($)
                                  BUNCOMBE COUNTY TAX COLLECTOR Real Estaet Taxes                                      ($172.00)     4700-000

                                  60 COURT PLAZA ROOM 320
                                  ASHEVILLE, NC 28801
                                  Rutherford Tax Collector                                                           ($59,182.12)    4700-000

                                  Deposit Retained by Seller                                                         ($25,000.00)    8500-002

   12/21/09             3         Broad and Cassel                          Wire Transfer from Broad and                             1110-000             $25,000.00                               $2,260,714.33
                                                                            Cassel
   12/31/09             1         Bank of America, N.A.                     Interest Rate 0.090                                      1270-000                   $61.79                             $2,260,776.12

   01/29/10             1         Bank of America, N.A.                     Interest Rate 0.090                                      1270-000                  $172.80                             $2,260,948.92

   02/09/10           1016        International Sureties, Ltd.              Bond #016027985                                          2300-000                                      $2,102.90       $2,258,846.02
                                  701 Poydras Street, Suite 420New
                                  Orleans, LA 70139
   02/24/10           1017        Roy S. Kobert, Esquire                    Attorney Fees                                            3210-000                                     $69,626.20       $2,189,219.82
                                  Broad and CassellPost Office Box
                                  4961Orlando, Florida 32802-4961
   02/24/10           1018        Roy S. Kobert, Esquire                    Attorney Expenses                                        3220-000                                      $8,881.73       $2,180,338.09
                                  Broad and CassellPost Office Box
                                  4961Orlando, Florida 32802-4961
   02/26/10             1         Bank of America, N.A.                     Interest Rate 0.090                                      1270-000                  $155.43                             $2,180,493.52

   03/23/10           1019        A.B. Sitework, Inc.                       L.R. Buffalo Creek, LLC                                  4110-000                                  $800,000.00         $1,380,493.52
                                  Attention: Roland G. Wintzinger, VP195    Pursuant to Court Order #734
                                  Round Bar DRiveHampton Cove,              dated 03/16/10
                                  Alabama 35763
   03/31/10             1         Bank of America, N.A.                     Interest Rate 0.090                                      1270-000                  $150.89                             $1,380,644.41

   04/12/10           1020        Earthwise Designs                         Pursuant to Court Order                                  4120-000                                     $39,600.00       $1,341,044.41
                                  Attn: Caroline Edwards991 Duncan          dated 03//22/10
                                  RoadRutherfordton, NC 28139
   04/15/10           1021        Taylor & Murphy Construction Co., Inc.    Pursuant to Court Order dated                            4120-000                                     $61,651.90       $1,279,392.51
                                  c/o Tessitore Law Firm612 East Colonial   03/22/10
                                  Drive, Suite 150Orlando, Florida 32803

                                                                                   Page Subtotals:                                                        $25,540.91           $981,862.73
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 08-10162                                                                                             Trustee Name: Leigh R. Meininger                                            Exhibit 9
      Case Name: LLC. LR BUFFALO CREEK                                                                                     Bank Name: Bank of America
                                                                                                                  Account Number/CD#: XXXXXX7450
                                                                                                                                           Money Market Account (Interest Earn
  Taxpayer ID No: XX-XXX1424                                                                              Blanket Bond (per case limit): $32,583,498.00
For Period Ending: 05/13/2020                                                                             Separate Bond (if applicable):


       1                2                              3                                             4                                                    5                      6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                    Reference                                                                                                        Code                                                              ($)
   04/27/10           1022        Zacco & Associates                        Deposition of Robert Miggens                          3991-000                                           $617.50       $1,278,775.01
                                  Post Office Box 533008Orlando, Florida
                                  32853-3008
   04/30/10             1         Bank of America, N.A.                     Interest Rate 0.090                                   1270-000                     $99.35                              $1,278,874.36

   05/28/10             1         Bank of America, N.A.                     Interest Rate 0.090                                   1270-000                     $97.76                              $1,278,972.12

   06/10/10            14         Catalyst/Deposit                          Wire Transfer                                         1229-000               $75,000.00                                $1,353,972.12
                                                                            Received from Berger
                                                                            Singerman, P.A.
                                                                            Attorney for potential purchaser
   06/30/10           1023        Reverses Check # 1023                     Special Counsel Fees                                  3210-000                                    ($35,789.20)         $1,389,761.32
                                                                            Issued in wrong amount
   06/30/10             1         Bank of America, N.A.                     Interest Rate 0.090                                   1270-000                     $98.49                              $1,389,859.81

   06/30/10           1023        Roy S. Kobert, P.A.                       Special Counsel Fees                                  3210-000                                       $35,789.20        $1,354,070.61
                                  Broad and CasselP.O. Box 4961Orlando,
                                  FL 32802-4961
   06/30/10           1024        Roy S. Kobert, P.A.                       Special Counsel Fees                                  3210-000                                       $35,879.20        $1,318,191.41
                                  Broad & CasselP.O. Box 4961Orlando,
                                  Florida 32802-4961
   07/30/10             1         Bank of America, N.A.                     Interest Rate 0.090                                   1270-000                    $100.76                              $1,318,292.17

   08/09/10           1025        BUSINESS & CONSTRUCTION LAW               Pursuant to Court Order Dated                         7100-000                                       $48,696.75        $1,269,595.42
                                  GROUP, LLC                                July
                                  Attention: Joel F. Geer607 Pendleton      9, 2010
                                  Street, Suite 106Greenville, South
                                  Carolina 29601
   08/31/10             1         Bank of America, N.A.                     Interest Rate 0.090                                   1270-000                     $98.37                              $1,269,693.79

   09/30/10             1         Bank of America, N.A.                     Interest Rate 0.090                                   1270-000                     $93.92                              $1,269,787.71

   10/04/10           1026        Leigh R. Meininger, Trustee               For Settlement with Key Bank                          7100-000                                       $22,000.00        $1,247,787.71
                                  Land Resources, LLC
   10/29/10             1         Bank of America, N.A.                     Interest Rate 0.090                                   1270-000                     $95.59                              $1,247,883.30




                                                                                   Page Subtotals:                                                       $75,684.24           $107,193.45
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 08-10162                                                                                            Trustee Name: Leigh R. Meininger                                            Exhibit 9
      Case Name: LLC. LR BUFFALO CREEK                                                                                    Bank Name: Bank of America
                                                                                                                 Account Number/CD#: XXXXXX7450
                                                                                                                                          Money Market Account (Interest Earn
  Taxpayer ID No: XX-XXX1424                                                                             Blanket Bond (per case limit): $32,583,498.00
For Period Ending: 05/13/2020                                                                            Separate Bond (if applicable):


       1                2                             3                                              4                                                   5                      6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)       Account/CD Balance
                    Reference                                                                                                       Code                                                              ($)
   11/15/10           1027        EWALD ENTERPRISES, INC.                   Pursuant to Court Order                              2690-000                                       $16,643.47        $1,231,239.83
                                  12472 Lake Underhill Road                 Dated 11/09/10 (Document
                                  Suite 312                                 Number 947)
                                  c/o Robert H. Ewald
                                  Orlando, FL 32828
   11/16/10           1028        Earthwise Designs, Inc.                   Issued for wrong amount                              5200-000                                       ($2,860.00)       $1,234,099.83
                                  Attn: Caroline Edwards
                                  991 Duncan Road
                                  Rutherfordton, NC 28139
   11/16/10           1032        Shamburger Design Studio, PC              Issued for wrong amount                              5200-000                                       ($1,693.44)       $1,235,793.27
                                  Tessitore Law Firm
                                  612 East Colonial Drive, Suite 150
                                  Orlando, Florida 32803
   11/16/10           1031        Earthwise Designs, Inc.                   Issued for wrong amount                              5200-000                                       ($1,320.00)       $1,237,113.27
                                  Attn: Caroline Edwards
                                  991 Duncan Road
                                  Rutherfordton, NC 28139
   11/16/10           1030        Taylor & Murphy Construction Co., Inc.    Issued for wrong amount                              5200-000                                       ($2,055.06)       $1,239,168.33
                                  c/o Tessitore Law Firm
                                  612 East Colonial Drive, Suite 150
                                  Orlando, Florida 32803
   11/16/10           1029        AB Sitework, Inc.                         Issued for wrong amount                              5200-000                                 ($158,068.84)           $1,397,237.17
                                  Attention: Roland G. Wintzinger, VP
                                  195 Round Bar DRive
                                  Hampton Cove, Alabama 35763
   11/16/10           1028        Earthwise Designs, Inc.                   Pursuant to Court Order Dated                        5200-003                                        $2,860.00        $1,394,377.17
                                  Attn: Caroline Edwards                    10/28/10
                                  991 Duncan Road
                                  Rutherfordton, NC 28139
   11/16/10           1029        AB Sitework, Inc.                                                                              5200-003                                   $158,068.84           $1,236,308.33
                                  Attention: Roland G. Wintzinger, VP
                                  195 Round Bar DRive
                                  Hampton Cove, Alabama 35763
   11/16/10           1030        Taylor & Murphy Construction Co., Inc.                                                         5200-003                                        $2,055.06        $1,234,253.27
                                  c/o Tessitore Law Firm
                                  612 East Colonial Drive, Suite 150
                                  Orlando, Florida 32803




                                                                                   Page Subtotals:                                                            $0.00             $13,630.03
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 08-10162                                                                                                Trustee Name: Leigh R. Meininger                                            Exhibit 9
      Case Name: LLC. LR BUFFALO CREEK                                                                                        Bank Name: Bank of America
                                                                                                                     Account Number/CD#: XXXXXX7450
                                                                                                                                              Money Market Account (Interest Earn
  Taxpayer ID No: XX-XXX1424                                                                                 Blanket Bond (per case limit): $32,583,498.00
For Period Ending: 05/13/2020                                                                                Separate Bond (if applicable):


       1                2                             3                                                 4                                                    5                      6                     7

Transaction Date    Check or                Paid To / Received From                         Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                    Reference                                                                                                           Code                                                              ($)
   11/16/10           1031        Earthwise Designs, Inc.                                                                            5200-003                                        $1,320.00        $1,232,933.27
                                  Attn: Caroline Edwards
                                  991 Duncan Road
                                  Rutherfordton, NC 28139
   11/16/10           1032        Shamburger Design Studio, PC                                                                       5200-003                                        $1,693.44        $1,231,239.83
                                  Tessitore Law Firm
                                  612 East Colonial Drive, Suite 150
                                  Orlando, Florida 32803
   11/16/10           1033        Earthwise Design, Inc.                                                                             5200-000                                        $2,860.00        $1,228,379.83
                                  c/o Marvin Sparrow, Esquire
                                  175 North Main Street
                                  Rutherfordton, NC 32803
   11/16/10           1034        Taylor And Murphy Construction Co., Inc.                                                           5200-000                                        $4,452.64        $1,223,927.19
                                  c/o Tessitore Law Firm
                                  612 East Colonial Drive, Suite 150
                                  Orlando, Florida 32803
   11/16/10           1035        Shamburger Design Studio, PC               Distribution                                            4120-000                                        $1,905.12        $1,222,022.07
                                  c/o Tessitore Law Firm
                                  612 East Colonial Drive, Suite 150
                                  Orlando, Florida 32803
   11/16/10           1036        AB Sitework, Inc.                          Distribution                                            4120-000                                    $199,724.00          $1,022,298.07
                                  Attention: Roland G. Wintzinger, VP
                                  195 Round Bar DRive
                                  Hampton Cove, Alabama 35763
   11/30/10             1         Bank of America, N.A.                      Interest Rate 0.090                                     1270-000                     $87.17                              $1,022,385.24

   12/28/10           1037        Broad And Cassel                           Attorney Fees                                           3210-000                                       $65,366.35          $957,018.89
                                  390 North Orange Avenue, Suite 1400
                                  Orlando, Florida 32801-4961
   12/28/10           1038        Broad And Cassel                           Attorney For Trustee Expenses                           3220-000                                           $538.90         $956,479.99
                                  390 North Orange Avenue, Suite 1400
                                  Orlando, Florida 32801-4961
   12/31/10             1         Bank of America, N.A.                      Interest Rate 0.070                                     1270-000                     $75.72                                $956,555.71

   12/31/10                       KeyBank National Association               Wire Transfer                                           4110-000                                    $552,548.73            $404,006.98
                                                                             Pursuant to Court Order -
                                                                             Document Number 1015



                                                                                     Page Subtotals:                                                             $162.89         $830,409.18
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 08-10162                                                                                            Trustee Name: Leigh R. Meininger                                            Exhibit 9
      Case Name: LLC. LR BUFFALO CREEK                                                                                    Bank Name: Bank of America
                                                                                                                 Account Number/CD#: XXXXXX7450
                                                                                                                                          Money Market Account (Interest Earn
  Taxpayer ID No: XX-XXX1424                                                                             Blanket Bond (per case limit): $32,583,498.00
For Period Ending: 05/13/2020                                                                            Separate Bond (if applicable):


       1                2                             3                                              4                                                   5                      6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)       Account/CD Balance
                    Reference                                                                                                       Code                                                              ($)
   01/12/11           1039        EWALD ENTERPRISES, INC.                                                                        2690-000                                       $12,936.59          $391,070.39
                                  12472 Lake Underhill Road
                                  Suite 312
                                  c/o Robert H. Ewald
                                  Orlando, FL 32828
   01/31/11             1         Bank of America, N.A.                     Interest Rate 0.070                                  1270-000                    $23.55                                 $391,093.94

   02/01/11             11        Pasgett Law Office, PLLC                  Property sold to Sonny                               1110-000              $167,500.00                                  $558,593.94
                                                                            Beachum
   03/10/11           1041        KeyBank                                                                                        4110-000                                   $101,161.16             $457,432.78
                                  c/o Andrew M. Brumby
                                  Shutts & Bowen LLP
                                  300 South Orange Avenue, Suite 1000
                                  Orlando, FL 328021
   03/14/11           1042        International Sureties, Ltd.              Bond #016027985                                      2300-000                                           $506.31         $456,926.47
                                  701 Poydras Street, Suite 420
                                  New Orleans, LA 70139
   06/15/11            12         Morris Hardwick Schneider, LLC            Wire Transfer                                        1129-000               $99,000.00                                  $555,926.47
                                                                            Wire Received 05/27/111
   07/13/11           1043        Braver, Schimler, Pierce, Jenkins, LLP    Accountant Fees                                      3410-000                                       $15,289.50          $540,636.97
                                  c/o Christine W. Pierce, CPA
                                  1180 West Peachtree Street, Suite 1400
                                  Atlanta, GA 30309
   08/15/11           1044        Servient                                  Invoice 2213                                         2420-000                                        $3,000.00          $537,636.97
                                  9990 Richmond Avenue                      Pursuant to Order Granting
                                  South Building, Suite 110                 Motion for Approval to
                                  Houston, TX 77042                         Terminate Access to Debtors'
                                                                            Business Records Hosted by a
                                                                            Third Party Vendor dated
                                                                            05/07/12 (Document Number
                                                                            1217)
   09/12/11           1045        Servient                                  Invoice 2249                                         2420-000                                        $3,000.00          $534,636.97
                                  9990 Richmond Avenue                      Pursuant to Order Granting
                                  South Building, Suite 110                 Motion for Approval to
                                  Houston, TX 77042                         Terminate Access to Debtors'
                                                                            Business Records Hosted by a
                                                                            Third Party Vendor dated
                                                                            05/07/12 (Document Number
                                                                            1217)


                                                                                   Page Subtotals:                                                     $266,523.55          $135,893.56
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 08-10162                                                                                             Trustee Name: Leigh R. Meininger                                            Exhibit 9
      Case Name: LLC. LR BUFFALO CREEK                                                                                     Bank Name: Bank of America
                                                                                                                  Account Number/CD#: XXXXXX7450
                                                                                                                                           Money Market Account (Interest Earn
  Taxpayer ID No: XX-XXX1424                                                                              Blanket Bond (per case limit): $32,583,498.00
For Period Ending: 05/13/2020                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                      6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)       Account/CD Balance
                    Reference                                                                                                        Code                                                              ($)
   09/12/11           1046        Iron Mountain                             Invoice EAT0076                                       2420-000                                           $474.93         $534,162.04
                                  PO Box 915004
                                  Dallas, TX 75391-5004
   09/12/11           1047        Broad & Cassel, Attorneys at Law          Attorney Fees                                         3210-000                                       $21,000.00          $513,162.04
                                  390 North Orange Avenue, Suite 1400       LR Buffalo Creek, LLC
                                  Orlando, Florida 32801-4961               Pursuant to Court Order dated
                                                                            08/16/11
   09/12/11           1048        Broad & Cassel, Attorneys at Law          Attorney Expenses                                     3220-000                                        $2,661.32          $510,500.72
                                  390 North Orange Avenue, Suite 1400       LR Buffalo Creek, LLC
                                  Orlando, Florida 32801-4961               Pursuant to Court Order dated
                                                                            08/16/11
   10/06/11           1049        KeyBank                                                                                         4110-000                                       $97,500.00          $413,000.72
                                  c/o Andrew M. Brumby, Esquire
                                  Shutts & Bowen, LLP
                                  300 South Orange Avenue, Suite 1000
                                  Orlando, Florida 32801
   10/31/11                       Bank of America                           Bank Service Fee under 11                             2600-000                                           $598.27         $412,402.45
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   11/30/11                       Bank of America                           Bank Service Fee under 11                             2600-000                                           $508.44         $411,894.01
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   12/29/11           1050        Roy S. Kobert, Esquire                    Attorney Fees                                         3210-000                                   $125,000.00             $286,894.01
                                  Broad and Cassel                          Pursuant to Court Order dated
                                  Post Office Box 4961                      12/29/2011 (Document Number
                                  Orlando, Florida 32802-4961               1160)
   12/29/11           1051        Roy S. Kobert Esquire                     Attorney Expenses                                     3220-000                                       $20,239.31          $266,654.70
                                  Broad and Cassel                          Pursuant to Court Order dated
                                  Post Office Box 4961                      12/29/2011 (Document Number
                                  Orlando, Florida 32802-4961               1160)
   12/30/11                       Bank of America                           Bank Service Fee under 11                             2600-000                                           $501.85         $266,152.85
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   01/03/12           1052        Roy S. Kobert, Esquire                    Attorney Fees                                         3210-000                                   $125,000.00             $141,152.85
                                  Broad and Cassel                          Pursuant to Court Order dated
                                  Post Office Box 4961                      12/29/2011 (Document Number
                                  Orlando, Florida 32802-4961               1160)
                                                                            Towards fees awarded but
                                                                            heldback

                                                                                   Page Subtotals:                                                             $0.00         $393,484.12
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 08-10162                                                                                             Trustee Name: Leigh R. Meininger                                            Exhibit 9
      Case Name: LLC. LR BUFFALO CREEK                                                                                     Bank Name: Bank of America
                                                                                                                  Account Number/CD#: XXXXXX7450
                                                                                                                                           Money Market Account (Interest Earn
  Taxpayer ID No: XX-XXX1424                                                                              Blanket Bond (per case limit): $32,583,498.00
For Period Ending: 05/13/2020                                                                             Separate Bond (if applicable):


       1                2                             3                                               4                                                   5                      6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)       Account/CD Balance
                    Reference                                                                                                        Code                                                              ($)
   01/31/12                       Bank of America                           Bank Service Fee under 11                             2600-000                                           $200.49         $140,952.36
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   02/16/12           1053        International Sureties, Ltd               Blanket Bond 016027985                                2300-000                                           $165.62         $140,786.74
                                  701 Poydras Street, Suite 420
                                  New Orleans, LA 70139
   02/22/12           1054        Donna Littleton                           Pursuant to Court Order                               5600-000                                       $2,500.00           $138,286.74
                                  Chris Littleton                           Dated 12/01/11
                                  c/o James J. Dalton, II, CFP, Esquire
                                  110 Habersham Drive
                                  Gayetteville, GA 30214
   02/22/12           1055        Abdul Nizam                               Pursuant to Court Order                               5600-000                                       $5,000.00           $133,286.74
                                  3441 Harbor Court                         dated 01/23/12
                                  San Jose, CA 95127
   02/22/12           1056        Kirk Maes                                 Pursuant to Court Order                               5600-000                                       $1,875.00           $131,411.74
                                  Patrcia Maes                              dated 01-23-12
                                  c/o H. Randall Brennan, Esquire
                                  1443 20th Street, Suite A
                                  Vero Beach, FL 32961-0520
   02/29/12                       Bank of America                           Bank Service Fee under 11                             2600-000                                           $166.76         $131,244.98
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   03/06/12           1057        Cecelia A. Toth                           Pursuant to Court Order dated                         5600-000                                       $3,000.00           $128,244.98
                                  511 Madeira Avenue                        02/10/12
                                  Coral Gables, FL 33134
   03/30/12                       Bank of America                           Bank Service Fee under 11                             2600-000                                           $161.32         $128,083.66
                                                                            U.S.C. § 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   04/27/12                       Transfer to Acct # xxxxxx0006             Transfer of Funds                                     9999-000                                   $128,083.66                    $0.00



                                                                                                             COLUMN TOTALS                            $2,612,646.62        $2,612,646.62
                                                                                                                  Less: Bank Transfers/CD's                    $0.00         $128,083.66
                                                                                                             Subtotal                                 $2,612,646.62        $2,484,562.96
                                                                                                                  Less: Payments to Debtors                    $0.00                   $0.00


                                                                                   Page Subtotals:                                                             $0.00         $141,152.85
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                                                                                  Net
                                                                                                    Page 61 of 62
                                                                                                            $2,612,646.62   $2,484,562.96


                                                                                                                                             Exhibit 9




                                                                Page Subtotals:                                     $0.00          $0.00
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                                                                                                                                                                     Exhibit 9
                                                                                               TOTAL OF ALL ACCOUNTS
                                                                                                                                                NET             ACCOUNT
                                                                                                             NET DEPOSITS        DISBURSEMENTS                   BALANCE
                                                 XXXXXX0006 - Checking Account                                 $3,386,475.16          $3,514,558.82                  $0.00
                                                 XXXXXX7450 - Money Market Account                             $2,612,646.62          $2,484,562.96                  $0.00
                                                 (Interest Earn
                                                                                                               $5,999,121.78          $5,999,121.78                  $0.00

                                                                                                            (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                                    transfers)            to debtors)
                                                 Total Allocation Receipts:                 $1,750,854.12
                                                 Total Net Deposits:                        $5,999,121.78
                                                 Total Gross Receipts:                      $7,749,975.90




                                                                         Page Subtotals:                                           $0.00                $0.00
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